         Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 1 of 91




                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 LAKEWOOD CONCRETE CORP., on behalf
 of itself and all others similarly situated,

         Plaintiff,

                v.                                Case No.

 SIKA AG; SIKA CORPORATION;        JURY TRIAL DEMANDED
 CHRYSO, INC.; GCP APPLIED
 TECHNOLOGIES, INC.; COMPAGNIE DE
 SAINT-GOBAIN S.A.; SAINT- GOBAIN
 NORTH AMERICA; MASTER BUILDERS
 SOLUTIONS ADMIXTURES U.S., LLC;
 MASTER BUILDERS SOLUTIONS
 DEUTSCHLAND GMBH; CINVEN LTD.;
 CINVEN, INC.; THE EUCLID CHEMICAL
 COMPANY; RPM INTERNATIONAL INC.;
 and DOES 1-10,

        Defendants.


                               CLASS ACTION COMPLAINT

       Plaintiff Lakewood Concrete Corp (“Plaintiff”), individually and on behalf of all others

similarly situated (the “Class,” as defined below), upon personal knowledge as to the facts

pertaining to itself, and upon information and belief as to all other matters, and based on the

investigation of counsel, brings this class action for damages, injunctive relief, and other relief

pursuant to state antitrust, consumer protection, and unjust enrichment laws, as well claims for

injunctive relief under the federal antitrust laws, and demands a trial by jury on all matters so

triable. Plaintiff brings this action against Sika AG; Sika Corporation; Chryso, Inc.; GCP Applied

Technologies, Inc.; Compagnie De Saint-Gobain S.A.; Saint-Gobain North America; Master

Builders Solutions Admixtures U.S., LLC; Master Builders Solutions Deutschland GmbH; Cinven
            Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 2 of 91




Ltd.; Cinven, Inc.; The Euclid Chemical Company; RPM International Inc.; and Does 1-10

(collectively, “Defendants”).

I.        NATURE OF THE ACTION

           1.     This lawsuit arises from Defendants’ unlawful agreement to fix the prices for (a)

    concrete admixtures, (b) cement additives, and (c) admixtures for mortar (collectively, “CCAs”).

    CCAs, which can be either liquid or powdered, are added to concrete, cement, and mortar before

    or during the aggregate’s mixing with water to give the finished product certain qualities, such as

    reducing the amount of water needed for the aggregate to set, reducing (or increasing) set time,

    reducing shrinkage, stabilizing or preventing cracking, and inhibiting corrosion. 1 Globally, the

    market for CCAs reached more than $18 billion in 2020 2 and $27 billion in 2022. 3

           2.      Defendants—Sika AG and Sika Corporation (collectively, “Sika”); Chryso, Inc.

    (“Chryso”) and GCP Applied Technologies, Inc. (“GCP”), under the ownership and control of

    Compagnie de Saint-Gobain S.A. and Saint-Gobain North America (“Saint-Gobain,” and with

    Chryso and GCP, “Saint-Gobain Group”); and Master Builders Solutions Admixtures U.S., LLC,

    (“MBSA”), presently under the ownership and control of Master Builders Solutions Deutschland

    GmbH (“MBSD”), Cinven Ltd. and Cinven, Inc. (“Cinven. collectively “Master Builders

    Group”); and The Euclid Chemical Company (“Euclid”), under the ownership and control of

    RPM International Inc. (“RPM,” and with Euclid, “Euclid Group”)—manufacture and sell the



1
 The Constructor, 15 Types of Admixtures Used in Concrete, https://theconstructor.org/concrete/types-concrete-
admixtures/5558/#:~:text=15.%20Coloring%20Admixtures%20%20%20Admixture%20%20,%20%20Green%20%
203%20more%20rows%20
2
  Fortune Business Insights, Concrete Admixtures Market Size (Jan. 2020),
https://www.fortunebusinessinsights.com/concrete-admixtures-market-102832
3
 Global News Wire, Concrete Admixture Market is Projected to reach US $27.5 Billion with a Share of 36.1%, by
2032 (July 13, 2022), https://www.globenewswire.com/en/news-release/2022/07/13/2479255/0/en/Concrete-
Admixture-Market-is-projected-to-reach-US-27-4-Billion-with-a-Share-of-36-1-by-2032-Future-Market-Insights-
Inc.html

                                                      1
             Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 3 of 91




    vast majority of CCAs sold in the United States. Defendants’ unlawful agreement caused indirect

    purchasers of CCAs in the United States, including Plaintiff and the Class, to pay supra-

    competitive prices for CCAs sold by Defendants in the United States and its territories from the

    period beginning no later than May 11, 2018 and running through the date on which any Class

    herein is certified (the “Class Period”), in violation of state antitrust, consumer protection, and

    unjust enrichment laws, as well as Sections 1 and 3 of the Sherman Act (15 U.S.C. §§ 1, 3).

    Defendants’ scheme included both price increases and the imposition of surcharges on CCAs sold

    in the United States.

           3.     Plaintiff and the Class first became aware of Defendants’ unlawful scheme on

    October 17, 2023, when the European Commission (“EC”) announced that it had, together with

    the United Kingdom’s Competition and Markets Authority (“CMA”) and the Turkish

    Competition Authority (“TCA”), carried out surprise antitrust inspections (also known as “dawn

    raids”) of “companies active in the construction chemicals sector in several Member States.” 4

           4.     That same day, the CMA released a statement that it had “launched an investigation

    . . . into suspected anti-competitive conduct relating to the supply of chemical admixtures and

    additives for use in concrete, cement, mortars and related construction products in the UK” and

    that its “investigation concern[ed] a suspected infringement or infringements of Chapter I [of the

    Competition Act of 1998] involving a number of suppliers of these chemicals and some industry

    bodies.” 5 According to the CMA, Chapter I of the Competition Act of 1998 “prohibits agreements

    and concerted practices between undertakings (e.g., businesses) and decisions by associations of



4
 Press Release, European Comm’n, Commission Carries Out Unannounced Antitrust Inspections in the
Construction Chemicals Sector (Oct. 17, 2023), https://ec.europa.eu/commission/presscorner/detail/en/ip_23_5061.
5
 Gov.UK, Suspected Anti-Competitive Conduct in Relation to the Supply of Chemicals for Use in the Construction
Industry (Oct. 17, 2023), https://www.gov.uk/cma-cases/suspected-anti-competitive-conduct-in-relation-to-the-
supply-of- chemicals-for-use-in-the-construction-industry.

                                                        2
             Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 4 of 91




    undertakings (e.g., trade associations) which have as their object or effect the prevention,

    restriction or distortion of competition within the UK and which may affect trade within the UK.” 6

    That is, Chapter I of the Competition Act of 1998 is the UK’s equivalent to Section 1 of the

    Sherman Act.

            5.     Both the EC and CMA have confirmed that they are working with the United States

    Department of Justice’s Antitrust Division (“DOJ”) in connection with these dawn raids, thus

    indicating that the anticompetitive conduct in question also extended into this country. 7

            6.     Shortly after these global antitrust enforcers announced their dawn raids, it was

    revealed that Sika, Saint-Gobain, and Master Builders were targets in this global antitrust

    investigation. 8 It was also revealed that Sika and Saint-Gobain are cooperating with these global

    antitrust authorities, 9 and that at least Sika had been in contact with the DOJ. 10

            7.     The origins of Defendants’ conspiracy can be traced to 2014, when Compagnie de

    Saint-Gobain S.A. launched a hostile takeover of Sika AG. 11 Over the next four years,

    Compagnie de Saint-Gobain S.A. attempted to consolidate its control of Sika AG, ultimately

    acquiring nearly a quarter of Sika AG’s stock; however, on May 11, 2018, Compagnie de Saint-


6
 CMA, Guidance on the Application of the Chapter Prohibition in the Competition Act 1998 to Horizontal
Agreements 6 (2023).
7
 Press Release, European Commission, Commission Carries Out Unannounced Antitrust Inspections in the
Construction Chemicals Sector (Oct. 17, 2023), https://ec.europa.eu/commission/presscorner/detail/en/ip_23_5061;
Construction News, Competition Regulators Probe Concrete Additive Firms (Oct. 19, 2023),
https://www.constructionnews.co.uk/legal/competition- regulators-probe-concrete-additive-firms-19-10-2023/.
8
 GCR, Sika, Saint-Gobain and Cinven-owned Business Targeted in Cross-Border Cartel Probe (Oct. 18, 2023),
https://globalcompetitionreview.com/article/update-sika-saint-gobain-and-cinven-owned-business-targeted-in-cross-
border-cartel-probe.
9
 Construction News, Competition Regulators Probe Concrete Additive Firms (Oct. 19, 2023),
https://www.constructionnews.co.uk/legal/competition-regulators-probe-concrete-additive-firms-19-10-2023/.
10
  ICIS, EU, UK, Turkey Authorities Launch Construction Chems Antitrust Investigation (Oct. 18, 2023),
https://www.icis.com/explore/resources/news/2023/10/18/10935016/eu-uk-turkey-authorities-launch-construction-
chems- antitrust-investigation/.
11
  Saint-Gobain Remains Committed to Deal to Take Over Sika, https://www.reuters.com/article/us-sika-cie-saint-
gobain-idUSKBN1300II (last updated Nov. 6, 2016).

                                                        3
           Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 5 of 91




 Gobain S.A. abandoned its takeover attempt, and agreed to reduce its stake to more than ten

 percent that it would hold for at least two years. 12 Before selling its Sika AG stock in 2020,

 Compagnie de Saint-Gobain S.A. was the largest shareholder in Sika AG. 13

         8.      The alleged conspiracy was born from this attempted merger. At the time it was

 launched, the market was already highly susceptible to collusion: the supply side was

 concentrated with high barriers to entry; the demand side was unconcentrated; and the demand

 for CCAs was inelastic. Sika AG and Compagnie de Saint-Gobain S.A., with their shared

 financial interest through Compagnie de Saint-Gobain S.A.’s significant financial stake in Sika

 AG, leveraged these susceptibilities and agreed to cease competing with one another in order to

 better ensure they both obtained higher prices for CCAs. This anticompetitive agreement,

 however, faced a problem: there were a handful of other, competing manufacturers of CCAs.

 Because these competitors were a threat to Compagnie de Saint-Gobain S.A. and Sika AG’s

 agreement to charge higher prices for CCAs, the co-conspirators agreed to a joint, worldwide

 buying spree, ultimately purchasing no fewer than a half-dozen of their shared competitors

 between 2017 and the present. This agreement was aided and abetted at all times by Cinven, with

 Euclid Group thereafter joining the conspiracy. As Sika told investors in its 2022 Annual Report,

 it had “consolidate[d] fragmented [market segments]” to strengthen its core business. 14



12
  Market Watch, Saint-Gobain, Sika and Burkard Family End Dispute (May 11, 2018),
https://www.marketwatch.com/story/saint-gobain-sika-and-burkard-family-end-dispute-2018-05-11; Saint-Gobain’s
U.S. Deal will Cement its Sika Envy, https://www.reuters.com/breakingviews/saint-gobains-us-deal-will-cement-its-
sika-envy-2021-12-06/
(last updated Dec. 6, 2021).
13
  VY Tyndall Global Select Fund Commentary, 5 (Oct. 2019), https://www.tyndallim.co.uk/wp-
content/uploads/2019/11/1910-VT-Tyndall-Global-Select-Fund-Commentary.pdf; Saint-Gobain Sells Sika Stake,
Formally Ending Bitter Takeover Battle, https://www.reuters.com/article/us-sika-m-a-saintgobain/saint-gobain-sells-
sika-stake-formally- ending-bitter-takeover-battle-idUSKBN2331J1 (last updated May 27, 2020).
14
  Sika, Annual Report 2022, 13, https://www.sika.com/dms/getdocument.get/55534c2a-608c-4ec2-bc9f-
df21d5ada6bd/glo-ar-2022-sika-business-year.pdf.

                                                        4
           Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 6 of 91




         9.      Defendants’ agreement became increasingly effective as they consolidated their

 market power, and prices for CCAs continued to rise. The onset of Covid in 2021, however,

 supercharged Defendants’ conspiracy. With no meaningful check on their pricing power,

 Defendants agreed to institute (a) price increases on the CCAs, and (b) surcharges on top of those

 price increases, including shipping surcharges and raw material surcharges.

         10.     Defendants have been secure in their knowledge that their competitors—the other

 Defendants—will not undercut them on price. For example, one industry analyst, in discussing at

 least the third price increase made by Sika in 2021, 15 stated, “They are not losing sales when

 increasing prices because competitors will also not sell at lower prices.” 16 Similarly, Frank

 Sullivan, the Chairman, President, and CEO of RPM, admitted on an earnings call in July of 2023

 that Euclid Group was charging too much for its CCAs but that the company (trusting that it

 would not be undercut on price) “held our pricing and held our discipline” and, as a result, reaped

 substantial supracompetitive profits on its CCAs. 17

         11.     Moreover, Defendants’ claimed justification for these price hikes and surcharges is

 pretextual. The spike in raw material and shipping costs was either non-existent or short lived. In

 comparison, Defendants’ price increases, including surcharges, on CCAs have been both extreme

 and persistent.

         12.     Defendants’ conspiracy was facilitated through their shared membership in

 numerous trade associations. Specifically, Defendants (or their affiliates) are members of

15
  Sika Raises Prices to Counter Jump in Raw Material Costs, https://www.reuters.com/article/sika-results-
materials/sika-raises-prices-to-counter-jump-in-raw-material-costs-idUSZ8N1UN01 (last updated Feb. 22, 2019)
(noting price increases in January 2021 and March 2021).
16
  Update 2-Chemicals Group Sika Tackles Higher Costs by Raising Prices, https://www.reuters.com/article/sika-
results/update-2-chemicals-group-sika-tackles-higher-costs-by-raising-prices-idUSL4N2RI0XW (last updated Oct.
21, 2021).
17
   Q4 2023 RPM International Inc. Earnings Call Transcript (July 26, 2023),
https://www.rpminc.com/media/4837/rpm-q4-23-transcript.pdf.

                                                        5
              Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 7 of 91




 numerous national CCA trade associations, providing ample opportunity to meet and conspire.

 These shared CCA trade associations include the Belgian CCA trade association, Federatie van

 Invoerders en Producenten van Hulpstoffen voor betons en mortels (“FIPAH”); 18 the French CCA

 trade association, Syndicat National des Adjuvants pour Bétons et Mortiers (“SYNAD”); 19 the

 Italian CCA trade association, Associazione Italiana Produttori Additivi e Prodotti per Cemento

 e Calcestruzzo (“ASSIAD”); 20 the Norwegian Committee for Concrete Admixtures (“NCCA”); 21

 the Spanish CCA trade association, Asociación Nacional de Fabricantes de Aditivos para

 Hormigón y Mortero (“ANFAH”); 22 the Swedish Association for Concrete Admixtures

 (“SACA”); 23 the Turkish CCA trade association, Beton ve Harç Kimyasal Katkı Maddeleri

 Üreticileri Derneği (“KUB”); 24 and the UK CCA trade association, Cement Admixtures

 Association (“CCA”). 25 Notably, each of these CCA trade associations is also a member of an

 umbrella trade association: European Federation of Concrete Admixtures Association (“EFCA”).

 The EFCA describes itself as “a partnership of 13 National Admixture Associations, formed in

 1984 in order to represent the interests of the industry. . . . EFCA’s total membership provides in

 excess of 80% of admixture sales within Europe and represents all the major admixture

 manufacturers.” 26



18
     FIPAH, Members, https://www.fipah.be/fr/membres/.
19
     Synad, https://www.synad.fr/synad-syndicat-des-fabricants-d-adjuvants-beton-colorants-fibres.
20
   ASSIAD, The Structure, https://www.assiad.it/LAssociazione/La-
struttura?cf_chl_rt_tk=u7pLurzdoe4b4m7JWGOfds7HNRCC9lGE05zRTEktZi4-1700142619-0-gaNycGzNChA.
21
     NCAA, https://ncca.no/.
22
     ANFAH, Associate Members, https://anfah.org/anfah/miembros-de-anfah/.
23
     SACA, Member Companies, https://www.saca.se/medlemmar.html.
24
     KUB, About Us, https://kub.org.tr/hakkimizda/.
 Cement Admixtures Association, Members, https://www.admixtures.org.uk/members. Cement Admixtures
25

Association, Members, https://www.admixtures.org.uk/members.
26
     EFCA, About Us, https://www.efca.info/about-us/.

                                                          6
          Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 8 of 91




         13.   And in the United States, Defendants are “super sponsors” of the National Ready-

 Mix Concrete Association (“NMRCA”), a trade association founded in 1930, long before most

 of the construction chemicals at issue came into existence. While many of NMRCA’s members

 are buyers who bought CCAs directly from Defendants and thus were harmed by Defendants’

 anticompetitive conduct, the NMRCA, even if not a co-conspirator, provided Defendants with yet

 a further opportunity to meet and collude among themselves under the guise of participation in a

 legitimate trade association. The NMRCA also provided Defendants with benchmarking analyses

 that Defendants could misuse to further their efforts to fix CCA prices.

         14.   In sum, beginning no later than May 11, 2018, Defendants entered into an

 agreement to consolidate their control over the global manufacture of CCA and thereafter, fix the

 prices for CCA. This agreement, which was effectuated through Defendants’ common ownership,

 hiring of leaders previously employed by competitors, and membership in numerous shared trade

 associations, resulted in Plaintiff and members of the Class paying supra-competitive prices for

 CCAs in the United States. Through this action, Plaintiff, on behalf of itself and members of the

 Class, seek to recover the overcharges they paid to Defendants.

II.    JURISDICTION AND VENUE

         15.   Plaintiff brings this action under Section 16 of the Clayton Act (15 U.S.C. § 26) to

 secure injunctive relief against defendants for violating Section 1 of the Sherman Act (15 U.S.C.

 § 1). Plaintiff also brings these state law class claims on behalf of all the classes to recover actual

 and/or compensatory damages, double and treble damages as permitted, pre- and post-judgment

 interest, costs, and attorneys’ fees for the injury caused by defendants’ conduct in restricting the

 supply of increasing the price of CCAs. Plaintiff seeks damages in excess of $5,000,000, and

 there are members of each Class which are citizens of a different state than the defendants. This



                                                   7
             Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 9 of 91




 Court has subject matter jurisdiction under 28 U.S.C. §§ 1331, 1337, and Sections 4 and 16 of the

 Clayton Act, 15 U.S.C. §§ 15(a) and 26.

         16.     Venue is proper in this District pursuant to Sections 4, 12, and 16 of the Clayton

 Act (28 U.S.C. §§ 15, 22, and 26), and pursuant to 28 U.S.C. § 1391(b), (c), and (d), because, at

 all times relevant to the Complaint, one or more of the Defendants resided, transacted business,

 was found, or had agents in this District, and a substantial portion of the affected interstate trade

 and commerce described in this Complaint was carried out in this District.

         17.     This Court also has personal jurisdiction over each Defendant because, inter alia,

 each Defendant: (a) transacted business throughout the United States, including in this District;

 (b) manufactured, sold, shipped, and/or delivered substantial quantities of CCAs throughout the

 United States, including in this District; (c) had substantial contacts with the United States,

 including in this District; and/or (d) engaged in an antitrust conspiracy that was directed at and

 had a direct, foreseeable, and intended effect of causing injury to the business or property of

 persons residing in, located in, or doing business throughout the United States, including in this

 District.

         18.     The activities of Defendants, as described herein, were within the flow of, were

 intended to, and did have direct, substantial, and reasonably foreseeable effects on, the foreign

 and interstate commerce of the United States.

III.    PARTIES AND UNNAMED CO-CONSPIRATORS

        A.       Plaintiff

         19.     Plaintiff Lakewood Concrete Corp. is a business incorporated in the State of New

 York with its primary place of business at 185 East Livingston Avenue, Jamestown, New York,

 14701. During the Class Period, Plaintiff purchased CCAs at supra-competitive prices other than



                                                  8
             Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 10 of 91




 directly from one or more of the Defendants, and suffered antitrust injury and damages as a

 material, direct, and proximate results of Defendants’ conspiracy and overt acts in furtherance

 thereof.

           B.       Defendants

                    1.       Sika

            20.     Defendant Sika AG is a Swiss corporation with its primary place of business at

 Zugerstrasse 50 Baar, Zug, 6341 Switzerland. During the Class Period, Sika AG manufactured

 and sold CCAs around the World, including in the United States, both directly and through its

 wholly-owned subsidiary, Defendant Sika Corporation, and/or through its predecessors, affiliates,

 or subsidiaries.

            21.     Defendant Sika Corporation is a New Jersey corporation with its primary place of

 business at 201 Polito Ave Lyndhurst, New Jersey, 07071. Sika Corporation has approximately

 thirty-six (36) locations throughout North America, including twenty-eight (28) in the United

 States and three (3) in this District. 27 During the Class Period, Sika Corporation manufactured

 and sold CCAs in the United States, directly and/or through its predecessors, affiliates, or

 subsidiaries.

            22.     Sika Corporation is a wholly owned subsidiary of Sika AG. Sika AG controls Sika

 Corporation both generally and with respect to the conduct of Sika Corporation in furtherance of

 the unlawful acts alleged in this Complaint.

            23.     Sika AG and Sika Corporation are collectively referred to herein as “Sika.”

                    2.       Saint-Gobain




27
     SIKA, Locations, https://usa.sika.com/en/about-us/sika-usa-locations.html.

                                                           9
             Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 11 of 91




            24.     Defendant Compagnie de Saint-Gobain S.A. is a French corporation with its

 primary place of business at Tour Saint Gobain,12 Place De L Iris Courbevoie, Ile-De-France,

 92400 France. During the Class Period, Saint-Gobain Group manufactured and sold CCAs around

 the World, including in the United States, both directly and through its wholly owned subsidiaries,

 Saint-Gobain North America, Chryso, Inc., and GCP.

            25.     Defendant Saint-Gobain North America is a Pennsylvania corporation with its

 primary place of business at 20 Moores Rd., Malvern, Pennsylvania, 19355. Saint-Gobain North

 America has approximately 150 locations throughout North America, including 106 in the United

 States and five in this District. 28 During the Class Period, Saint-Gobain North America

 manufactured and sold CCAs in the United States, directly and/or through its predecessors,

 affiliates, or subsidiaries.

            26.     Defendant Chryso, Inc. is a Michigan corporation with its primary place of business

 at 1611 Highway 276, Rockwall, TX 75032. With over 1,300 staff worldwide, Chryso has twenty-

 two (22) foreign subsidiaries and serves customers in more than one hundred (100) countries,29

 including four (4) in the United States. 30 During the Class Period, Chryso, Inc. manufactured and

 sold CCAs in the United States, directly and/or through its predecessors, affiliates, or subsidiaries.

            27.     Defendant GCP is a Georgia corporation with its primary place of business at 2325

 Lakeview Parkway, Suite 450 Alpharetta, GA 30009. GCP employs roughly 2,400 people in more

 than 40 countries, serving customers in more than 110 countries, including in the United States.31




28
     Saint-Gobain, Manufacturing Sites, https://www.saint-gobain-northamerica.com/manufacturing-sites.
29
     Cement Admixtures Association, Members, https://www.admixtures.org.uk/members/.
30
     CHRYSO, Inc. LinkedIn Profile, https://www.linkedin.com/company/chryso-inc/about/.
31
     GCP Applied Technologies, Locations, https://ca.gcpat.com/en/about/locations.

                                                         10
             Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 12 of 91




 During the Class Period, GCP manufactured and sold CCAs in the United States and its territories,

 directly and/or through its predecessors, affiliates, or subsidiaries.

            28.     Saint-Gobain North America, Chryso, Inc., and GCP are wholly owned subsidiaries

 of Compagnie de Saint-Gobain S.A. Compagnie de Saint-Gobain S.A. controls Saint Gobain

 North America, Chryso, Inc., and GCP. both generally and with respect to the conduct of Saint

 Gobain North America, Chryso, Inc., and GCP Applied Technologies, Inc. in furtherance of the

 unlawful acts alleged in this Complaint.

            29.     Compagnie de Saint-Gobain S.A., Saint-Gobain North America, Chryso, Inc., and

 GCP Applied Technologies, Inc. are collectively referred to herein as “Saint-Gobain Group.”

                    3.       Master Builders Group

            30.     Defendant Cinven Ltd. is a British corporation with its primary place of business at

 21 St. James's Square, London, SW1Y 4JZ, United Kingdom. Cinven Ltd. manufactures and sells

 CCAs around the World, including in the United States, through its predecessors, affiliates, or

 subsidiaries, including Cinven, Inc., MBSD, and MBSA.

            31.     Defendant Cinven, Inc. is a New York corporation with its primary place of

 business at Tower 49, 12 East 49th Street, New York, NY 10017. 32 Cinven Inc. manufactures and

 sells CCAs around the World, including in the United States and its territories, through its

 predecessors, affiliates, or subsidiaries, including MBSA. Defendants Cinven Ltd. and Cinven

 Inc. are collectively referred to herein as “Cinven.”

            32.     Defendant MBSD is a German corporation with its primary place of business at

 Glücksteinallee 43-45, 68163 Mannheim, Germany. During the Class Period, MBSD

 manufactured and sold CCAs around the World, including in the United States and its territories,


32
     Cinven, Locations, https://www.cinven.com/site-tools/cinven-offices.

                                                          11
             Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 13 of 91




 both directly and through its predecessors, affiliates, or subsidiaries, including MBSA. Indeed,

 the CEO of MBSA, Borris Gorella, is the Managing Director of MBSD’s parent company, Master

 Builders Solutions Holdings GmbH.

            33.     Defendant MBSA is a Delaware corporation with its primary place of business at

 23700 Chagrin Blvd., Beachwood, Ohio, 44122. MBSA has approximately three (3) locations

 throughout North America, including two (2) in the United States. 33 During the Class Period,

 MBSA manufactured and sold CCAs in the United States and its territories, directly and/or

 through its predecessors, affiliates, or subsidiaries.

            34.     MBSD and MBSA are wholly owned subsidiaries of Cinven. Cinven controls

 MBSD and MBSA both generally and with respect to the conduct of MBSD and MBSA in

 furtherance of the unlawful acts alleged in this Complaint.

            35.     MBSD, MBSA, and Cinven are collectively referred to herein as “Master Builders

 Group.”

                    4.       Euclid Group

            36.     Defendant Euclid is an Ohio corporation with its primary place of business at 19215

 Redwood Rd, Cleveland, Ohio 44110. Euclid has approximately twenty-eight (28) locations in

 North America, including twenty-one (21) locations in the United States, one of which is in this

 District. 34 During the Class Period, Euclid manufactured and sold CCAs in the United States and

 its territories, directly and/or through its predecessors, affiliates, or subsidiaries.

            37.     Defendant RPM is a Delaware corporation with its primary place of business at

 2628 Pearl Road, Medina, Ohio 44256. During the Class Period, RPM manufactured and sold



33
     Master Builders Solutions, Our Locations, https://www.master-builders-solutions.com/about-us/our-locations.
34
     The Euclid Group, Locations, http://12.43.214.238/locations.

                                                          12
         Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 14 of 91




CCAs around the World, including in the United States and its territories, both directly and

through its predecessors, affiliates, or subsidiaries, including Euclid.

        38.   Euclid is a wholly owned subsidiary of RPM. RPM controls Euclid both generally

and with respect to the conduct of Euclid in furtherance of the unlawful acts alleged in this

Complaint.

        39.   Euclid and RPM are collectively referred to herein as “Euclid Group.”

              5.      Doe Defendants

        40.   Doe Defendants 1-10 are members of the price-fixing conspiracy alleged herein

whose identities are presently unknown to Plaintiff. These include, among other entities, the

various “industry bodies” referenced in the CMA’s statement regarding the raids. Plaintiff expects

that the identity of these Doe Defendants will be revealed during discovery, at which point

Plaintiff will seek leave to amend its complaint to add those entities in place of the Doe

Defendants.

       C.     Agents and Unnamed Co-Conspirators

        41.   The acts alleged against the Defendants in this Complaint were authorized, ordered,

or done by their officers, agents, employees, or representatives, while actively engaged in the

management and operation of Defendants’ businesses or affairs.

        42.   Various persons and/or firms not named as Defendants herein may have

participated as co-conspirators in the violations alleged herein and may have performed acts and

made statements in furtherance thereof.

        43.   Each Defendant acted as the principal, agent, or joint venture of, or for, other

Defendants with respect to the acts, violations, and common course of conduct alleged by

Plaintiff.



                                                13
          Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 15 of 91




IV.     FACTUAL ALLEGATIONS

        A.        CCAs, Generally

                  1.      CCAs Are an Essential Input in Cement, Concrete, and Mortar

         44.      CCAs are added to cement, concrete, and mortar to improve their safety and

 functionality.

         45.      Concrete is an important resource for all kinds of construction projects in the United

 States. Just over half of the low-rise (less than three-stories in height) structures in the United

 States are built out of concrete. 35

         46.      Cement is a binding agent made from limestone and clay and is also used

 extensively in building here in the United States. Cement production in the United States reached

 its highest level in more than a decade in 2022, amounting to 95 million metric tons. 36

         47.      Mortar is a combination of cement and sand and is primarily used to hold ready-

 made building units (like bricks or blocks) in place.

         48.      Figure 1, below, illustrates the differences and uses of concrete, cement, and

 mortar: 37




 PCA, Buildings & Structures, https://www.cement.org/cement-concrete/paving/buildings-structures. PCA,
35

Buildings & Structures, https://www.cement.org/cement-concrete/paving/buildings-structures.
36
   Statista, Apparent Cement Consumption in the U.S. from 2010 to 2022 (Oct. 30, 2023),
https://www.statista.com/statistics/273367/consumption-of-cement-in-the-us/.
37
  The Spruce, Differences Between Cement, Concrete, and Mortar,
https://www.thespruce.com/thmb/r3NjpAf8yDRYLArSXx2BX2iwcOM=/1500x0/filters:no_upscale():max_bytes(1
50000):strip_icc()/difference-between-cement-concrete-and-mortar-2130884-final-ac-5c1aa0e546e0fb0001909553-
fd07f31197cd491e85bf0eb8200f6f5e.png.

                                                       14
             Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 16 of 91




                               Figure 1: Cement vs. Concrete vs. Mortar




            49.     CCAs are integral to the construction of America’s infrastructure, including

 residential, commercial, and industrial buildings, roads, bridges, tunnels, and airports. 38 Indeed,

 the CMA recently concluded that CCAs are “an essential input in the production” of cement,

 concrete, and mortar. 39




38
  International Association of Certified Home Inspectors, Concrete Admixtures, https://www.nachi.org/concrete-
admixtures.html.
39
     CMA, Phase 1 Referral Decision in Sika-Master Builders Merger, ¶ 4 (Sept. 23, 2022).

                                                         15
          Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 17 of 91




         50.     The essential nature of CCAs is shown in Figure 2, below, from Saint-Gobain: 40




         51.     Due to their essential nature, the vast majority of projects using concrete, cement,

 and/or mortar also use CCAs.

                 2.      Types of CCAs

         52.     As noted above, CCAs include three types of products: (a) chemical admixtures for

 cement, (b) chemical admixtures for concrete, and (c) admixtures for mortar. The CMA has

 described the uses for each as follows:




40
  Joana Alberto, LinkedIn Post (2022), https://www.linkedin.com/posts/joana-alberto_constructionchemestry-
solutions-decarbonazation-activity-6940612387087503360-
sqzk/?utm_source=share&utm_medium=member_desktop.

                                                      16
             Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 18 of 91




                   Chemical admixtures for cement are added to cement in order to
                   reduce the amount of energy required to grind the cement (ie
                   grinding aids) as well as to improve the performance of the cement
                   (ie performance enhancers or quality improvers);

                   Chemical admixtures for concrete are added to improve the
                   properties of concrete or wet mortar, including super-plasticizers,
                   plasticizers, air entrainers, retarders and accelerators; and

                   Other chemical admixtures include admixtures for dry mortar and
                   certain admixtures for wet mortar that are not also used for concrete,
                   for example as they increase the adhesion properties of mortar but
                   do not reduce the amount of water required. 41

            53.    Manufacturers of CCAs use the same equipment and chemicals to produce these

 CCAs, so they can quickly and cost-effectively shift production from one category of CCA to

 another. 42 On the other hand, purchasers of CCAs do not view these products as interchangeable,

 nor do purchasers view there as being substitutes for CCAs.

            54.    The American Society for Testing and Materials (“ASTM”) identifies seven

 primary types of CCAs, based on the qualities they add to the aggregate material: (a) Type A—

 water reducing (plasticizer); (b) Type B—retarding; (c) Type C—accelerating; (d) Type D—

 water reducing and retarding; (e) Type E—water reducing and accelerating; (f) Type F—water

 reducing, high range (“HRWR,” or superplasticizer); and (g) Type G—water reducing, high

 range, and retarding. 43 The ASTM also recognizes several other admixture types, including those

 that have air entraining (to enhance compressive or flexural strength of concrete), and cold

 weather setting properties.




41
     CMA, Phase 1 Referral Decision in Sika-Master Builders Merger, FN 57 (Sept. 23, 2022).
42
     Id.
43
  ASTM, Standard Specification for Chemical Admixtures for Concrete, https://www.astm.org/c0494_c0494m-
17.html (last updated Mar. 10, 2020).

                                                         17
          Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 19 of 91




          55.    The various types of CCAs are shown in Figure 3, below. 44

                                     Figure 3: Types of CCAs, By ASTM Code


                ASTM Code                            Use                            Active Ingredient(s) 45

                                           Water Reducing (i.e.,              Lignosulfonates; Hydroxylated
                                         reduce the water required         carboxylic acids; Melamine sulfonate;
                C494 Type A
                                            to achieve a given                Phosphonate salts; Naphthalene
                                                consistency                              sulfonate

                                           Retarding (i.e., delay         Amino Trimethylene Phosphonic Acid
                C494 Type B
                                                 setting)                             (“ATMP”)

                                                                            Calcium chloride; Triethanolamine;
                                                                             Aluminum hydroxide; Aluminum
                                         Accelerating (i.e., speed
                                                                            sulfate; Calcium nitrite; Oxalic acid;
                C494 Type C              up the setting and early
                                                                                Sodium thiocyanate; Sodium
                                         strength development)
                                                                            thiosulfate; Calcium formate; Silica
                                                                                       fume; Silica gel

                                            Water Reducing &
                C494 Type D                                                         See Type A & Type B
                                               Retarding

                                            Water Reducing &
                C494 Type E                                                         See Type A & Type C
                                              Accelerating

                                        Water Reducing & High
                C494 Type F                                                            Polyether alcohols
                                        Range (“Superplasticizer”
                                               “HRWR”)

                                          Water Reducing, High
                C494 Type G                                                          See Type B & Type F
                                           Range, & Retarding


44
  Id.; ASTM, Standard Specification for Air-Entraining Admixtures for Concrete,
https://www.astm.org/c0260_c0260m-10ar16.html (last updated Dec. 27, 2016); ASTM, Standard Specification for
Admixtures to Inhibit Chloride-Induced Corrosion of Reinforcing Steel in Concrete,
https://www.astm.org/c1582_c1582m-11r17e01.html (last updated July 28, 2017); ASTM, Standard Specification
for Cold-Weather Admixture Systems, https://www.astm.org/c1622_c1622m-10r16e01.html (last updated Dec. 27,
2016); ASTM, Standard Specification for Pigments for Integrally Colored Concrete,
https://www.astm.org/c0979_c0979m-16.html (last updated Dec. 27, 2016); Concrete Network, Admixtures by
Classification, https://www.concretenetwork.com/photo- gallery/site_26/chris-sullivan_14351/.
45
  Bisley International, Raw Materials for Concrete Admixture, https://bisleyinternational.com/raw-materials-for-
concrete-admixture.

                                                        18
             Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 20 of 91




                                                                            Salts of wood resins; Some synthetic
                                                                            detergents; Salts of sulfonated lignin;
                                             Air Entraining (i.e.,
                                                                              Salts of petroleum acids; Salts of
                      C260                  improved durability,
                                                                              proteinaceous material; Fatty and
                                          compressive and flexural
                                                                                resinous acids and their salts;
                                                  strength)
                                                                               Alkydbenzene sulfonates; Fatty
                                                                                alcohols and other surfactants

                                           Reduce costs; improve
                      C618                                                        Natural Pozzolans; Fly ash
                                          workability and plasticity




                                          Water Repelling (i.e.,              Stearate of calcium, aluminum,
                  C494 Type S
                                         decrease permeability of            ammonium, or butyl; Petroleum
                                        finished concrete surface)           greases or oils; Soluble chlorides

                                                                                       Calcium nitrite
                    C1582                  Corrosion Inhibiting
                                                                                       Lithium nitrate

                     1622                  Cold Weather Setting                         Sodium nitrite

            56.     As Figure 3 shows, CCAs are made by blending polymers and other chemicals

 together. These raw materials can be difficult to manufacture, as they require specialized facilities

 and significant research and development. Whereas Defendants research, develop, and

 manufacture at least some of these polymers in-house (though they also purchase polymers from

 third parties), 46 smaller manufacturers of CCAs source these polymers exclusively from third

 parties.

            57.     In recent years, there has been a reported shortage in the polymers necessary to

 manufacture CCAs, thus giving Defendants (who produce at least some of their own polymers

 in- house) a competitive advantage over smaller manufacturers of CCAs. 47 However, as set forth


46
     CMA, Phase 1 Referral Decision in Sika-Master Builders Merger, ¶ 42 (Sept. 23, 2022).
47
     Id.

                                                         19
          Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 21 of 91




 in greater detail herein, the alleged shortage in these polymers does not and cannot fully explain

 Defendants’ huge price increases and surcharges for CCAs that they implemented during the

 Class Period.



                         3.       How CCAs Are Sold and Who Buys Them

         58.     Most CCAs are sold in ready-to-use liquid form and can be added to the aggregate

 either at the plant where the aggregate product is produced (e.g., ready-made concrete mix) or at

 the jobsite where it is to be used. 48

         59.     An example of how CCAs are packaged and sold is shown in Figure 4, below: 49




48
  Sika, Corporate Governance (2022), https://www.sika.com/dam/dms/corporate/media/glo-ar-2022-corporate-
governance.pdf.
49
  Sika USA, SikaMix AE-6, https://usa.sika.com/en/construction-products/concrete/concrete-admixtures/dry-cast-
admixtures/efflorescence-control/sikamix-ae-6.html; see also Master Builders Solutions, Concrete Admixtures,
https://www.master-builders-solutions.com/en-us/products/concrete-admixtures; CHRYSOQuad, Lower Quality
Sands: Impact Concrete Performance and Placement, https://www.chrysoinc.com/solutions/chrysoquad/; Sika USA,
A Complete Range of Concrete Admixtures, https://usa.sika.com/en/construction/concrete/concrete-
admixtures.html.

                                                      20
             Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 22 of 91




            60.     Purchasers of CCAs operate in the construction and industrial sectors and include

 producers of ready-mixed concrete, shotcrete, 50 and pre-cast concrete. 51 Purchasers of CCAs

 typically purchase the majority of their CCAs from a single supplier. 52

            61.     In general, CCAs are sold by Defendants directly to suppliers of ready-mix concrete

 and masonry, as well as through distributors.

           B.       The Market for CCAs in the United States and Its Territories

            62.     The United States is a large market for CCAs, at roughly $3 billion per year. 53

 Roughly $100 million is imported into the United States each year. 54

            63.     Defendants are the dominant manufacturers and sellers of CCAs in the World, and

 in the United States and its territories. On information and belief, Plaintiff’s estimate of

 Defendants’ market share in the United States is between eighty and ninety percent (80% to

 90%). 55

            64.     Defendants manufacture and sell numerous CCAs in the United States and its

 territories, as well as around the World. Purchasers of CCAs in the United States and its territories

 import them directly from the foreign Defendants (e.g., Compagnie de Saint-Gobain S.A., Sika

 AG, and MBSD) and buy them from their domestic subsidiaries (e.g., Sika Corp., Chryso, GCP,




50
  Shotcrete (or gunite) is a type of ready-mixed concrete that, instead of being poured and spread, is fed through a
hose and applied using a high-pressure sprayer. It is typically used for concrete walls, such as in tunnels.
51
  Sika USA, A Complete Range of Concrete Admixtures, https://usa.sika.com/en/construction/concrete/concrete-
admixtures.html.
52
     CMA, Phase 1 Referral Decision in Sika-Master Builders Merger, ¶ 49 (Sept. 23, 2022).
53
  Mordor Intelligence, North America Concrete Admixtures Market Size & Share Analysis – Growth Trends &
Forecasts 2023 – 2028, https://www.mordorintelligence.com/industry-reports/north-america-concrete-admixtures-
market.
54
  U.S. International Trade Commission, U.S. Imports for Consumption HTS6 3824.40,
https://hts.usitc.gov/search?query=6%20382440.
55
     CMA, Phase 1 Referral Decision in Sika-Master Builders Merger, ¶ 75 (Sept. 23, 2022).

                                                         21
             Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 23 of 91




 and MBSA). 56 The below figures list some of the CCAs sold in the United States and its territories

 by Defendants.

            65.     Figure 5 lists some of the CCAs sold by Sika in the United States and its territories:

                                                  Figure 5: CCAs Sold by Sika
            Chromix                   SikaMultiAir                SikaViscoFlow                     SikaMix
                                                                Sika Watertight
           SikaAEA                   SikaPlastiment                                                 SikaPlast
                                                                Concrete Powder
                                                                                             SikaQuick Winter
            SikaAir                  SikaPlastocrete                  SikaWT
                                                                                                  Boost
          SikaAntisol                   SikaRapid                    SikaColor                       SikaSet
            SikaCem                    SikaRugasol                  SikaControl                     SikaTard
      SikaCem Summer
                                       SikaSigunit                   Sikacrete                    SolarChrome
          Extender
            SikaCNI                   SikaStabilizer                 Sikament                      ViscoCrete
                                                                 Sika Lightcrete                 Sika Lightcrete
           SikaGrind                 Sika FerroGard
                                                                    Powder                           Liquid

            66.     Figure 6 shows some of the CCAs sold by Saint-Gobain Group in the United States

 and its territories:

                                      Figure 6: CCAs Sold by Saint-Gobain Group

                                                       Chryso
        CHRYSO Air                 CHRYSO Aqua                   CHRYSO CI                CHRYSO Control
                                    CHRYSO Dust                                            CHRYSO Fluid
        CHRYSO DSF                                          CHRYSO EnviroMix
                                     Suppressant                                              ProPel
       CHRYSO Fluid                CHRYSO Fluid
                                                              CHRYSO NutralSet            CHRYSO Optima
         Optima                       Premia
     CHRYSO Optifinish           CHRYSO PoreTite                CHRYSO Plast              CHRYSO Premia
       CHRYSO Quad              CHRYSO Quad EMx               CHRYSO Serenis                CHRYSO Tard
     CHRYSO TurboCast                       --                          --                           --


56
     CMA, Phase 1 Referral Decision in Sika-Master Builders Merger, ¶ 124(b) (Sept. 23, 2022).

                                                         22
         Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 24 of 91




                                                  GCP
          Adva                     Daratard                  Force                RDA
        Airalon                    Daravair               Hydrophobe             Recover
        Clarena                     Darex                    Mira                Synchro
        Daraccel                    DCI                      Optec                Tavero
                                 Dry-Block
        Daracem                                             Polarset             Terapave
                                 Admixture
                              Dry-Block Mortar
        DaraFill                                            Postrite             Tyronix
                                 Admixture
        Darapel                   Eclipse                  Quantec                Tytron
        Daraset                      FXP                     Rasir                V-Mar
        WRDA                         Zyla                      --                   --

        67.        Figure 7 shows some of the CCAs sold by Master Builders Group in the United

States and its territories:

       MasterAir                MasterGlenium           MasterPolyheed          MasterSet
      MasterCast                  MasterLife            MasterPozzolith         MasterSure
      MasterCell                 MasterMatrix           MasterRheobuild       Master X-Seed
      MasterColor                 MasterPel                   ---                   ---

        68.        Figure 8 shows some of the CCAs sold by Euclid Group in the United States and

its territories:

      Accelguard               Eucon Barracade            Eucon MRX           Eucon Retarder
         Conex                   Eucon BCN                Eucon NR             Eucon WRX
       Eucon 37                   Eucon CIA               Eucon NW               Eucon X
      Eucon 1037                  Eucon DS                 Eucon SE            Eucon SRA
       Eucon 537                Eucon Easy Fill            Eucon SP            Eucon Stasis
       Eucon A+               Eucon Integral ARC        Eucon Sureshot          Eucon WR
      Eucon ABS                   Eucon LR               Eucon Vandex             Plastol
       Eucon Air                  Eucon LW                Eucon WO               Visctrol
     Eucon AWA                    Eucon MR                     --                   --

                                                   23
          Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 25 of 91




        C.       Global Antitrust Investigations into Defendants’ Anticompetitive Conduct

         69.     On October 17, 2023, the EC announced that it had carried out dawn raids at several

 firms active in the construction chemicals industry in connection with suspected cartel conduct:

                 On 17 October 2023, the European Commission carried out
                 unannounced inspections at the premises of companies active in the
                 concrete chemical admixture industry in various Member States.

                 The inspections concern possible collusion in relation to the supply
                 of chemical product ingredients that are added to cement, concrete
                 and mortar to modify and improve their properties and provide them
                 with specific qualities.

                 The Commission has concerns that companies in the concrete
                 chemical admixture industry worldwide may have violated EU
                 antitrust rules that prohibit cartels and restrictive business
                 practices (Article 101 of the Treaty on the Functioning of the
                 European Union).

                 The EC said its inspections “were conducted in coordination with
                 the UK CMA and the Turkish Competition Authority”, adding that
                 it had also been in contact with the US Department of Justice’s
                 Antitrust Division.57

         70.     The EC was accompanied by its counterparts from the national competition

 authorities of the European Union Member States where the inspections were carried out. 58

         71.     That same day, the CMA confirmed its participation in the investigation and named

 Sika, Saint-Gobain Group, and Master Builders Group as the subject of that investigation:

                 The CMA has reason to suspect anti-competitive behaviour has
                 taken place involving suppliers of chemical admixture and products
                 containing CCA for use in the manufacture of consumer products
                 such as household and personal care products.


57
  Construction News, Competition Regulators Probe Concrete Additive Firms (Oct. 19, 2023),
https://www.constructionnews.co.uk/legal/competition-regulators-probe-concrete-additive-firms-19-10-2023/
(emphasis added).
58
  GCR, Sika, Saint-Gobain and Cinven-owned Business Targeted in Cross-Border Cartel Probe (Oct. 18, 2023),
https://globalcompetitionreview.com/article/update-sika-saint-gobain-and-cinven-owned-business-targeted-in-cross-
border-cartel-probe (emphases added).

                                                       24
          Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 26 of 91




                 The businesses under investigation by the CMA are: Sika AG, Sika
                 Corporation, Saint-Gobain Group, Saint-Gobain North America,
                 Master Builders Construction Chemicals Group, Master Builders
                 Solutions Admixtures US, LLC, Cinven Group LTD, and Cinven
                 Group LTD.

                 The CMA has been in contact with the Antitrust Division of the US
                 Department of Justice, the European Commission and the Turkish
                 Competition Authority in relation to this matter, and this
                 investigation has been launched in consultation with them. 59

         72.     The EC, CMA, and TCA confirmed their involvement in the investigation and

 provided further details regarding the conduct they were investigating:

                 The European Commission opened an investigation into antitrust
                 violations at construction chemical operations. There are suspicions
                 that producers have colluded.

                 The CMA has indications that there is anticompetitive conduct
                 between a “number of suppliers” and “some industry bodies” in
                 violation of cartel law. The searches come five months after
                 chemical admixture supplier Sika completed its proposed £4.5
                 billion acquisition of rival [Master Builders] Group. There are
                 suspicions that these undertakings have coordinated their pricing
                 policy, prohibited their competitors from supplying certain
                 customers and limited the production of essential ingredients used
                 in the production of concrete, mortar and cement. The
                 undertakings involved in the investigation are Sika AG, Sika
                 Corporation (USA), Saint-Gobain North America (USA), Master
                 Builders Construction Chemicals Group, Master Builders Solutions
                 Admixtures US, LLC (USA), Cinven LTD, and Cinven Group LTD.

                 Dawn raids were conducted at various locations. These were carried
                 out in consultation with other competition authorities, namely the
                 European Commission, the US Department of Justice Antitrust
                 Division, the Turkish Competition Authority, and the UK
                 Competition and Markets Authority. 60



59
   Gov.UK, Suspected Anti-Competitive Conduct in Relation to the Supply of Chemicals for Use in the Construction
Industry (Oct. 17, 2023), https://www.gov.uk/cma-cases/suspected-anti-competitive-conduct-in-relation-to-the-
supply-of-chemicals-for-use-in-the-construction-industry (emphasis added).
60
  ICIS, EU, UK, Turkey Authorities Launch Construction Chems Antitrust Investigation (Oct. 18, 2023),
https://www.icis.com/explore/resources/news/2023/10/18/10935016/eu-uk-turkey-authorities-launch-construction-
chems- antitrust-investigation/ (emphases added).

                                                      25
          Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 27 of 91




         73.     Sika, Saint-Gobain Group, and Master Builders Group have all confirmed that they

 are subjects of the investigation, as set forth below. 61

         74.     On October 18, 2023, Sika confirmed the investigation in a statement to

 Construction News (“CN”): Sika confirmed to CN that inspections had taken place into

 “suspected antitrust irregularities in the area of additives for concrete and cement,” adding that

 “[t]he fair operations of the markets is fundamental to Sika and we support this investigation with

 all our efforts and cooperate fully with the authorities.” 62

         75.     On October 18, 2023, Saint-Gobain Group confirmed its cooperation in an email:

 “We can confirm that Saint-Gobain is aware of competition law investigations and cooperating

 with these investigations.” 63

         76.     That same day, Master Builders Group confirmed the investigation by the EC. 64

         77.     The inspections by the EC were not undertaken casually. Inspections are typically

 done by an order of the EC, and the EC must have “reasonable grounds for suspecting an

 infringement of the competition rules;” “[i]t must be borne in mind that the inspections carried

 out by the Commission are intended to enable it to gather the necessary documentary evidence to




61
  GCR, Sika, Saint-Gobain and Cinven-owned Business Targeted in Cross-Border Cartel Probe (Oct. 18, 2023),
https://globalcompetitionreview.com/article/update-sika-saint-gobain-and-cinven-owned-business-targeted-in-cross-
border-cartel-probe.
62
  Construction News, Competition Regulators Probe Concrete Additive Firms (Oct. 19, 2023),
https://www.constructionnews.co.uk/legal/competition-regulators-probe-concrete-additive-firms-19-10-2023/.
63
   Nasdaq, St Gobain says Cooperating in EU Probe into Construction Chemicals Cartel,
https://www.nasdaq.com/articles/st-gobain-says-cooperating-in-eu-probe-into-construction-chemicals-cartel (last
updated Oct. 18, 2023).
64
  GCR, Sika, Saint-Gobain and Cinven-owned Business Targeted in Cross-Border Cartel Probe (Oct. 18, 2023),
https://globalcompetitionreview.com/article/update-sika-saint-gobain-and-cinven-owned-business-targeted-in-cross-
border-cartel-probe.

                                                       26
            Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 28 of 91




 check the actual existence and scope of a given factual and legal situation concerning which it

 already possesses certain information.” 65

            78.    The same is true for the TCA. Earlier this year, the Turkish Constitutional Court,

 the highest legal body for constitutional review in Turkey, held that the TCA may conduct a dawn

 raid after first obtaining a search warrant from a Turkish criminal court. 66

            79.    This investigation follows several years in which the Defendants have generally

 increased their profits while also imposing price increases and surcharges that are not adequately

 explained by other competitive factors.

            80.    These increases in profits during the Class Period are inconsistent with the

 Defendants’ pretextual explanation that their price increases were intended to offset rising costs

 and are more consistent with the existence of a conspiracy to fix prices.

           D.      Defendants Effectuated Their Conspiracy Through Their Shared CCA Trade
                   Associations

            81.    In announcing the coordinated dawn raids, the CMA stated that the anticompetitive

 conduct at issue included not only individual companies, but also “some industry bodies.” This is

 hardly surprising, given that Defendants share membership in a multitude of CCA trade

 associations around the World. This gave Defendants ample opportunity to meet and conspire in

 furtherance of their agreement to fix prices for CCAs.

            82.    Defendants Sika, Saint-Gobain Group, and Master Builders Group are members of

 the following shared trade associations: (a) the Belgian CCA trade association, FIPAH; 67 (b) the


65
  Case No. T-135/09, Nexans France SAS v. Comm’n, 2012 E.C.R. 43,
https://curia.europa.eu/juris/document/document.jsf?text=&docid=129701&pageIndex=0&doclang=EN&mode=lst
&dir=&occ=first&part=1&cid=4406098.
66
  Lexology, A New Era for the On-Site Inspections by the TCA (Aug. 23, 2023),
https://www.lexology.com/library/detail.aspx?g=31016b1d-6615-4bb5-ad85-9a8fd9db3ecf.
67
     FIPAH, Members, https://www.fipah.be/fr/membres/.

                                                         27
             Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 29 of 91




 French CCA trade association, SYNAD; 68 (c) the Italian CCA trade association, ASSIAD; 69 (d)

 the Norwegian CCA trade association, NCCA; 70 (e) the Spanish CCA trade association,

 ANFAH; 71 (f) the Swedish CCA trade association, SACA; 72 (g) the Turkish CCA trade

 association, KUB; 73 and (h) the UK CCA trade association, CAA. 74 Euclid is also a member of

 KUB. 75 Each of these trade associations also belongs to an umbrella CCA trade association:

 EFCA.

            83.     EFCA. EFCA describes itself as “a partnership of 13 National Admixture

 Associations, formed in 1984 in order to represent the interests of the industry.” 76 EFCA’s

 membership “provides in excess of 80% of admixture sales within Europe and represents all the

 major admixture manufacturers.” 77

            84.     The current EFCA Executive Board is made up of President Gianluca Bianchin,

 Vice Presidents Thomas Hirschi and Osman Ilgen, Sustainability Committee Chair Nihal

 Kinnersley, and Technical Committee Chair Francesco Surico. 78 Thomas Hirschi has worked at

 Sika since July of 2001 and has served as “Target Market Manager Concrete Waterproofing” for




68
     Synad, https://www.synad.fr/synad-syndicat-des-fabricants-d-adjuvants-beton-colorants-fibres.
69
     ASSIAD, The Structure, https://www.assiad.it/LAssociazione/La-struttura.
70
     NCAA, Welcome, https://ncca.no/.
71
     ANFAH, Associate Members, https://anfah.org/anfah/miembros-de-anfah/.
72
     SACA, Member Companies, https://www.saca.se/medlemmar.html.
73
     KUB, About Us, https://kub.org.tr/hakkimizda/.
74
     Cement Admixtures Association, Members, https://www.admixtures.org.uk/members/.
75
     KUB, About Us, https://kub.org.tr/hakkimizda/.
76
     EFCA, About Us, https://www.efca.info/about-us/.
77
     Id.
78
     EFCA, Structure, https://www.efca.info/about-us/efca-structure/.

                                                          28
            Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 30 of 91




 the company since January of 2017. 79 Osman Ilgen was Managing Director at Chryso from March

 of 2015 through September of 2023 and has been a Vice President at Saint-Gobain Group since

 January of 2023. 80 He also currently serves as President of KUB. 81 Nihal Kinnersley has worked

 as a Product Stewardship Manager at GCP since March of 2016 and as a Product Stewardship

 Director at Saint-Gobain Group since July of 2023. 82

            85.    Other members of the ECFA Board include Kai Salo of Sika, Claude Le Fur, who

 worked at Sika until July of 2021, and Suat Seven of Master Builders Group. 83

            86.    Members of the EFCA Technical Committee include Ian Ellis, who worked at

 Master Builders Group until July of 2022, Marko Kaisanlahti of Master Builders Group, Franz

 Wombacher of Sika, Trond Solbo of Sika, Osman Tezel of Saint-Gobain Group, Jean-Philippe

 Bigas of Saint-Gobain Group, and Robert Hurkmans of Saint-Gobain Group. 84

            87.    Members of the EFCA Environmental Committee (which is also referred to as the

 Sustainability Committee) include Marko Kaisanlahti of Master Builders Group, Maxime Julliot


79
  Thomas Hirschi, LinkedIn Profile, https://www.linkedin.com/in/thomas-hirschi-
01159b83/?originalSubdomain=ch.
80
     Osman Ilgen, LinkedIn Profile, https://www.linkedin.com/in/osmanilgen1972/?originalSubdomain=tr.
81
     Id.
82
  Nihal Kinnersley, LinkedIn Profile, https://www.linkedin.com/in/nihal-kinnersley-
ba506b22/?originalSubdomain=uk.
83
  EFCA, Committees, https://www.efca.info/efca-committees/; Kai Salo, LinkedIn Profile,
https://www.linkedin.com/in/kai-salo-72384880/?originalSubdomain=fi; Claude Le Fur, LinkedIn Profile,
https://www.linkedin.com/in/claude-le-fur-a4735857/?originalSubdomain=fr; Suat Seven, LinkedIn Profile,
https://www.linkedin.com/in/suat-seven-b9a7403a/?originalSubdomain=tr.
84
  EFCA, Committees, https://www.efca.info/efca-committees/; Ian Ellis, LinkedIn Profile,
https://www.linkedin.com/in/ian-ellis-72a94115/?originalSubdomain=uk; Marko Kaisanlahti, LinkedIn Profile,
https://www.linkedin.com/in/marko-kaisanlahti-28ab2b116/?originalSubdomain=fi; Franz Wombacher, LinkedIn
Profile, https://www.linkedin.com/in/franz-wombacher-9888b941/?originalSubdomain=ch; Osman Ilgen, LinkedIn
Profile, https://www.linkedin.com/in/osmanilgen1972/?originalSubdomain=tr; Sika Norway, Technical
Department/Environment/QEHS, https://nor.sika.com/no/teknisk-avdeling.html; Jean Philippe Bigas, LinkedIn
Profile, https://www.linkedin.com/in/jean-philippe-bigas-658a07b5/?originalSubdomain=fr; CHRYSO, Saint-
Gobain Weber Beamix Enlarges its Offering in the Netherlands with Weber Cemfloor Screed and Chryso Concrete
Admixtures (June 9, 2023), https://www.chryso.com/news/saint-gobain-weber- beamix-enlarges-its-offering-in-the-
netherlands-with-weber-cemfloor-screed-and-chryso-concrete-admixtures/.

                                                        29
             Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 31 of 91




 of Master Builders Group, Mark Schneider, who worked for Sika until October of 2022, Bjorn

 Stockmann of Sika, Anders Larsson of Sika, and Osman Tezel of Saint-Gobain Group. 85

            88.     FIPAH. FIPAH’s website declares that it was founded “with the aim of promoting

 the common interests of the ‘Concrete and Mortar Admixtures Industry.’”

            89.     SYNDAD. One of SYNAD’s stated goals is to “to establish a relationship between

 all market players.” SYNAD representatives currently serving on EFCA committees include

 Claude Le Fur, Jean-Philippe Bigas, and Maxime Julliot.86 Claude Le Fur worked at Sika from

 2008 through July of 2021, and his last role was “Manager of Business Development for Europe

 South and Middle East.” 87 Jean-Philippe Bigas began working for Chryso in 2006, and has served

 as its “Technical Director in charge of regulatory aspects and sustainable development” since

 June of 2023. 88 Maxime Julliot works as a Market Manager at Master Builders Group. 89

            90.     ASSIAD. Part of ASSIAD’s mission is to “bring together the interested companies

 or groups thereof to discuss issues of common interest.” The ASSIAD website lists 11 “Consiglio

 Generale” members, including Leonardo Messaggi of Sika (President), Mario Casali of GCP,

 Donato Luciano of Chryso, and Roberto Spaggiari of Master Builders Group. 90 On April 9, 2021,




85
   EFCA, Committees, https://www.efca.info/efca-committees/; Marko Kaisanlahti, LinkedIn Profile,
https://www.linkedin.com/in/marko-kaisanlahti-28ab2b116/?originalSubdomain=fi; Mark Schneider, LinkedIn
Profile, https://www.linkedin.com/in/mark-schneider-157a57108/?originalSubdomain=ch; Osman Ilgen, LinkedIn
Profile, https://www.linkedin.com/in/osmanilgen1972/?originalSubdomain=tr; Bjorn Stockmann, LinkedIn Profile,
https://www.linkedin.com/in/bj%C3%B8rn-stockmann-52346034/?originalSubdomain=no; Andres Larsson,
LinkedIn Profile, https://www.linkedin.com/in/anders-larsson-3278731b7/?originalSubdomain=se; Master Builders
Solutions, Meet Our Team, https://masterfiber.master-builders-solutions.com/contact/contact.
86
     EFCA, Committees, https://www.efca.info/efca-committees/.
87
     Claude Le Fur, LinkedIn Profile, https://www.linkedin.com/in/claude-le-fur-a4735857/?originalSubdomain=fr.
88
  Jean Philippe Bigas, LinkedIn Profile, https://www.linkedin.com/in/jean-philippe-bigas-
658a07b5/?originalSubdomain=fr.
89
     Master Builders Solutions, Meet Our Team, https://masterfiber.master-builders-solutions.com/contact/contact.
90
     ASSIAD, The Structure, https://www.assiad.it/LAssociazione/La-struttura.

                                                          30
            Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 32 of 91




 ASSIAD announced four new members of the ASSIAD Board, including Donato Luciano of

 Master Builders Group, Jean Mascaro of Chryso, and Leonardo Messaggi of Sika. 91

            91.    On July 21, 2023, ASSIAD announced that Leonardo Messaggi of Sika was elected

 President of ASSIAD for the period from 2023 to 2027. 92 Leonardo Messaggi has worked for

 Sika since 2016 and currently serves as “Target Market Manager for Concrete & Industrial

 Flooring.” 93 In addition, Paolo Novello of Chryso serves as the Vice President of ASSIAD. 94

            92.    On October 4, 2023, ASSIAD announced the creation of a new Technical Evolution

 Committee made up of 13 members, including Fabrizio Avallone and Cristiano Cereda of Sika,

 Mario Casali and Pietro Massinari of Chryso, and Ivana Torresan of Master Builders Group. 95

            93.    On October 5, 2023, Messaggi announced that the thirteen (13) members of the

 new Technical Evolution Committee would participate in roundtables at the first “General States

 of Concrete Technology” at SAIE Bari, an industry meeting, in October of 2023. 96 Sika, Chryso,




91
  Press Release, ASSIAD, Two New Additions to the General Council (Apr. 9, 2021),
https://www.assiad.it/News/due-nuovi-ingressi-nel-consiglio-generale.
92
   Press Release, ASSIAD, ASSIAD Announces the Election of the New President and Vice Presidents for the Four-
Year period 2023-2027 (July 21, 2023), https://www.assiad.it/News/assiad-annuncia-lelezione-del-nuovo-
presidente-e-dei-vicepresidenti-per-il-quadriennio-2023-2027.
93
     Leonardo Messaggi, LinkedIn Profile, https://www.linkedin.com/in/leonardo-messaggi-5b949670/?locale=en_US.
94
  ASSIAD, The Scientific Steering Committee and Technical Evolution Committee of ASSIAD are Born (Oct. 4,
2023), https://www.assiad.it/News/nascono-il-comitato-di-indirizzo-scientifico-e-comitato-evoluzione-tecnica-di-
assiad; Ingenio, Concrete and Construction Post-Covid: Companies are Ready to Adopt the “Circular Economy”
(July 29, 2020), https://www.ingenio-web.it/articoli/calcestruzzo-e-edilizia-post-covid-le-imprese-sono-pronte-ad-
adottare-la-circular-economy/; Arketipo, ICARE Cement Technology by Chryso (Aug. 28, 2020),
https://www.arketipomagazine.it/tecnologia-per-il-cemento-icare-by-chryso/; Paolo Novello, LinkedIn Profile,
https://www.linkedin.com/in/paolo-novello-bab315b2/?originalSubdomain=it.
95
   ASSIAD, The Scientific Steering Committee and Technical Evolution Committee of ASSIAD are Born (Oct. 4,
2023), https://www.assiad.it/News/nascono-il-comitato-di-indirizzo-scientifico-e-comitato-evoluzione-tecnica-di-
assiad.
96
   Ingenio, ASSIAD Among the Protagonists at the General States on Concrete Technology at SAIE Bari 2023 (Oct.
5, 2023), https://www.ingenio-web.it/articoli/assiad-tra-i-protagonisti-agli-stati-generali-della-tecnologia-del-
calcestruzzo-al-saie- bari-2023/.

                                                        31
             Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 33 of 91




 GCP, and Master Builders Group were all scheduled to participate as “exhibitors” at this

 meeting. 97

            94.     NCCA. NCCA representatives currently serving on EFCA committees include

 Trond Solbo and Bjorn Stockmann, who both work for Sika. 98 As explained herein, these Sika

 employees met with executives from other Defendants in their roles as EFCA committee

 members.

            95.     ANFAH. ANFAH members represent “around 90% of the admixtures used in

 Spain.” 99

            96.     SACA. SACA representatives currently serving on EFCA committees include

 Anders Larsson, who works for Sika. 100 As explained herein, Anders Larsson met with executives

 from other Defendants in his role as an EFCA committee member.

            97.     KUB. KUB boasts that it “dominates 80% of the Turkish market,” which itself

 makes up 40% of the total concrete admixture market in Europe. 101 On March 13, 2020, KUB

 announced that Turgay Ozkun, a General Manager at Sika, had been elected as Chairman of the

 Board. At the same time, Osman Ilgen, a Vice President with Saint-Gobain Group, was elected




97
     Id.
98
  SAIE, Exhibitor Preview, https://eventi.senaf.it/preview-
espositori.php?CSRFName=CSRFGuard_330546167&CSRFToken=7908882XTY66GK7IT8RA8XB7KGFK67N
WMU5BCCD
DP5O0T8VC1XGIJSJ3T8EOOB7B&rag_soc=master+builders&rag_soc_inizia=&settore=&ide=1816&action=rei
mposta.
99
     EFCA, Spain – ANFAH, https://www.efca.info/efca-members/spain-anfah/.
100
   EFCA, Committees, https://www.efca.info/efca-committees; Anders Larsson, LinkedIn Profile,
https://www.linkedin.com/in/anders-larsson-3278731b7/?originalSubdomain=se.
101
      KUB, About Us, https://kub.org.tr/hakkimizda/.

                                                       32
             Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 34 of 91




 as Vice President of the Board, and Suat Seven of Master Builders Group was also elected to the

 Board. 102 Osman Ilgen currently serves as both President of KUB and Vice President of EFCA. 103

            98.    CAA. Two Master Builders Group executives currently hold leadership positions

 in the CAA: Chris Fletcher, a Master Builders Group Managing Director, is Chairman of the CAA

 Council, which “[e]stablishes and implements policy, promotes admixture use, [and] manages

 [CAA’s] committees, task groups, and finances,” while Ian Ellis, formerly a Master Builders

 Group Technical Services Manager, is Chairman of the CAA Technical Committee, which

 “[s]upports work on UK and European Standards, Codes, and Certification [and] [p]romotes

 improvements in technical information, quality control, and level of technical support provided

 by CAA members.” 104 Ian Ellis is also a member of the EFCA Technical Committee. 105

           E.      The Prices for Defendants’ CCAs Have Climbed Exponentially During the
                   Class Period and Several Defedants Have Signaled Price Increases Publicly

                   1.       Defendants Have Exponentially Increased Their Prices on CCAs
                            During the Class Period, Including by Imposing Surcharges
            99.    Publicly available financial reports and statements suggest that Defendants have

 consistently raised their prices for CCAs, including through surcharges, during the Class Period.

            100. For example, during an earnings call in April of 2022, RPM VP, Controller, and

 CAO Michael Laroche pointed to Euclid Group’s concrete admixtures as one of the company’s




102
   EFCA, New KUB President, https://www.efca.info/2020/03/13/new-kub-president/; Stuat Seven, LinkedIn
Profile, https://www.linkedin.com/in/suat-seven-b9a7403a/?originalSubdomain=tr.
103
   Osman Ilgen, LinkedIn Profile, https://www.linkedin.com/in/osmanilgen1972/?originalSubdomain=tr; EFCA,
Structure, https://www.efca.info/about-us/efca-structure/.
104
   Cement Admixtures Association, CAA Structure, https://www.admixtures.org.uk/about-us/caa-structure/; Chris
Fletcher, LinkedIn Profile, https://www.linkedin.com/in/chris-fletcher-84685137/?originalSubdomain=uk; Ian Ellis,
LinkedIn Profile, https://www.linkedin.com/in/ian-ellis-72a94115/?originalSubdomain=uk.
105
      EFCA, Committees, https://www.efca.info/efca-committees/.

                                                        33
            Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 35 of 91




 “fastest-growing businesses” and cited “selling price increases” as a key growth factor. 106 One

 year later, in an earnings release published in April of 2023, RPM noted that “record” sales in its

 construction segment were “driven by price increases and strength in concrete admixtures.” 107

            101. An investor report published by Saint-Gobain Group in February of 2021 cited

 “[u]pward trends in sales prices” as a key driver of the company’s sales growth in 2020.108 The

 same report published one year later similarly noted an “acceleration in prices in all segments” in

 2021. 109 The report emphasized that Saint-Gobain Group had exhibited “strong pricing power

 and decisive execution” in raising its prices by as much as 10% to match the industry trend. 110 A

 press release published by Saint-Gobain Group in October of 2021 included a chart showing an

 average price increase of 9.7% across all of its segments over the previous two years. 111 In the

 Americas, Saint-Gobain’s prices increased by 18.6% from October of 2019 to October of 2021. 112

            102. Defendants have also signaled CCA price increases publicly during the Class

 Period. Examples are set forth below.




106
   RPM, Q3 2022 Earnings Call Transcript (Apr. 6, 2022), https://www.rpminc.com/media/3483/rpm-
usq_transcript_2022- 04-06.pdf.
107
   RPM, RPM Reports Record Fiscal 2023 Third-Quarter Results (Apr. 6, 2023),
https://www.rpminc.com/media/4672/q3- 23-rpm-earnings-release-final.pdf.
  Saint-Gobain, FY 2020 Results and Outlook (Feb. 26, 2021), https://www.saint-gobain.com/sites/saint-
108

gobain.com/files/fy-2020-ang-a_0.pdf.
  Saint-Gobain, FY 2021 Results and Outlook (Feb. 25, 2022), https://www.saint-gobain.com/sites/saint-
109

gobain.com/files/media/document/FY2021_ENG.pdf.
110
      Id.
  Saint-Gobain, Press Release (Oct. 28, 2021), https://www.saint-gobain.com/sites/saint-
111

gobain.com/files/media/document/CP_CA_9M_2021_VA.pdf.
112
      Id.

                                                       34
          Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 36 of 91




          103. In February of 2019, Sika CEO Paul Schuler announced that Sika would raise its

 prices for the second time that year: “We are going to increase prices further. We have increased

 prices in January and we will do it again in March.” 113

          104. On November 13, 2020, Master Builders Group announced that it would raise its

 CCA prices up to 10%, effective immediately. 114

          105. On July 20, 2021, Masters Builders Group announced that it would be increasing

 previously-imposed surcharges on its products, including on CCAs, from six percent (6%) to nine

 percent (9%). 115

          106. On November 29, 2021, GCP announced that it would raise its CCA prices up to

 10% for North American customers, effective in January of 2022. 116

          107. On January 14, 2022, Master Builders Group announced that it would be increasing

 previously-imposed surcharges on its products, including on CCAs, to be as high as forty percent

 (40%). 117




113
   Reuters, Sika Raises Prices to Counter Jump in Raw Material Costs (Feb. 22, 2019),
https://www.reuters.com/article/sika- results-materials/sika-raises-prices-to-counter-jump-in-raw-material-costs-
idUSZ8N1UN01Y/.
114
   Sika, Master Builders Solutions to Increase Prices for Construction Chemicals (Nov. 13, 2020),
https://mbcc.sika.com/en-vn/about-us/news/price-increase-announcement.
115
   Letter from Konrad Wernthaler, Senior Vice President at Master Builders Group, to Customers (July 20, 2021),
https://www.negwer.com/Portals/0/Documents/Vendor%20News/2021%20Price%20Increases/2021_07_20_Master
%20Builder%20Solutions%20Surcharge%20Letter_EN.pdf?ver=2021-07-21-080522-810.
116
   Concrete Products, Raw Material, Freight Costs Drive GCP Admixture Price Increase (Nov. 29, 2021),
https://concreteproducts.com/index.php/2021/11/29/raw-material-freight-costs-drive-gcp-admixture-price-
increase/#:~:text=GCP%20Applied%20Technologies%20will%20raise,American%20customers%2C%20effective%
20January%202022.
117
    Letter from Konrad Wernthaler, Senior Vice President at Master Builders Group, to Customers (Jan. 14, 2022),
https://www.glenrockcompany.com/wp-content/uploads/2022/01/LtrForWebsite-Jasn27_2022.pdf.

                                                         35
            Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 37 of 91




            108. Also in January of 2022, Sika announced it, too, would be increasing its previously-

 imposed surcharges on its products, including CCAs, from sixteen percent (16%) to twenty

 percent (20%). 118

            109. These announcements were publicly disseminated and received substantial news

 coverage.

            110. Indeed, in an article published in August of 2020, an industry consultant noted that

 despite declining sales in the construction industry, the United States had seen an increase of

 eleven percent (11%) in the construction-cost-index (CCI), including a four percent (4%) increase

 in prices for products made of concrete. 119 He explained that “[t]he fall in prices feared in many

 branches, like automotive or plant engineering, is not noticeable in the construction sector.”120

 The consultant went on to suggest that players in construction-related industries should continue

 to raise their prices. 121

            111. On information and belief, the average price of CCAs imported into the United

 States also climbed during the Class Period. Prices for CCAs imported in the United States and

 its territories track the prices for CCAs exported from European countries. Similarly, prices for

 CCAs imported into the United States and its territories closely track prices for CCAs imported

 into European countries.

            112. In sum, Defendants’ price increases and surcharges have resulted in the prices for

 CCAs sold in the United States and its territories to increase dramatically during the Class Period.



118
    Letter from Michal Mastro, Vice President at Sika, to Customers (Jan. 2022),
https://www.glenrockcompany.com/wp- content/uploads/2022/01/LtrForWebsite-Jasn27_2022.pdf.
119
   ZKG Cement, Smart Pricing Strategies in the Pandemic,
https://www.zkg.de/en/artikel/zkg_Smart_pricing_strategies_in_the_pandemic-3562339.html.
120
      Id.
121
      Id.

                                                     36
          Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 38 of 91




 Specifically, prices for CCAs sold in the United States and its territories have roughly doubling

 during the Class Period.

                 2.       Normal Market Forces Do Not Explain Defendants’ Price Increases or
                          Surcharges

         113. Defendants have justified their price increases during the Class Period by citing

 increases in input costs and supply chain constraints. For example, when Master Builders Group

 raised prices for its CCAs by as much as 10% in November of 2020, the company blamed “supply

 constraints in key raw materials” and “an increase in raw material cost and several other related

 costs including freight.” In explaining GCP’s decision to raise its CCA prices by 10% in January

 of 2022, GCP Specialty Construction Chemicals President David Campos stated, “The global

 supply chain impacts on raw material and freight costs have been unprecedented over the past six

 months and input costs are not expected to subside in the near-term.” 122 RPM’s Laroche similarly

 justified price increases as necessary “to offset significant raw material inflationary pressure.”123

         114. However, Defendants’ material price increases for and imposition of surcharges on

 CCAs cannot be explained by normal market forces. The prices for other raw materials for CCAs

 have decreased during the Class Period. 124 Similarly, ocean freight rates spiked sharply and

 briefly during Covid, particularly for trans-Atlantic cargo, but have since fallen dramatically. 125




122
   Concrete Products, Raw Material, Freight Costs Drive GCP Admixture Price Increase (Nov. 29, 2021),
https://concreteproducts.com/index.php/2021/11/29/raw-material-freight-costs-drive-gcp-admixture-price-
increase/#:~:text=GCP%20Applied%20Technologies%20will%20raise,American%20customers%2C%20effective%
20January%202022.
123
   RPM, Q4 2022 Earnings Call Transcript (July      25, 2022), https://www.rpminc.com/media/3784/rpm-
usq_transcript_2022-07-25.pdf.
124
   ChemAnalyst, Sodium Lignosulphonate Price Trend and Forecast, https://www.chemanalyst.com/Pricing-
data/sodium- lignosulphonate-1140.
125
    Freight Waves, Trans-Atlantic shipping rates keep sinking as imports from Europe fall (Apr. 28, 2023),
https://www.freightwaves.com/news/trans-atlantic-shipping-rates-keep-sinking-as-imports-from-europe-fall.

                                                       37
            Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 39 of 91




            115. Raw materials cost increases alone do not explain Defendants’ CCA price

 increases, including surcharges, during the Class Period. The timing and duration of the raw

 materials cost increases do not fully align with the CCA price increases. Moreover, while some

 CCA raw materials saw higher prices, others were flat or declined. Similarly, the increase in

 freight costs during Covid was short-lived, stabilizing after a few months before beginning to

 decrease. The duration of shipping cost increases does not explain the persistent increase in CCA

 prices, including surcharges, since 2019.

                  3.      Defendants Have Admitted Normal Market Forces Do Not Explain
                          Their Price Increases or Surcharges

            116. Defendants have admitted that their higher profit margins were driven by price

 increases that outpaced any increases in input costs.

            117. For example, during Saint-Gobain Group’s earnings call in July of 2019, CFO

 Sreedhar N. noted that Saint-Gobain Group had “remained focused on price in spite of … the fact

 that there was a lower trend in the inflation.” 126 He explained that keeping prices high had helped

 the company “not only to offset the inflation,” but also to maintain a “positive spread” and,

 therefore, increased profits. 127 Over the next two years, Saint-Gobain Group continued to raise its

 prices and increase its profits. A press release from October of 2021 explained that Saint-Gobain

 Group was “confident that it w[ould] be able to offset raw material and energy cost inflation over

 full-year 2021” given “the sharp 8.7% acceleration in prices” over the previous year, as well as

 “the new price increase announcements in Europe and in the [United States]. 128


126
    Compagnie de Saint-Gobain, First-Half 2019 Earnings Call Transcript (Jul. 26, 2019),
https://seekingalpha.com/article/4278326-compagnie-de-saint-gobains-codgf-ceo-pierre-andre-de-chalendar-on-
first-half-2019-results.
127
      Id.
  Saint-Gobain, Press Release (Oct. 28, 2021), https://www.saint-gobain.com/sites/saint-
128

gobain.com/files/media/document/CP_CA_9M_2021_VA.pdf.

                                                       38
          Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 40 of 91




         118. Similarly, Sika CFO Adrian Widmer admitted during an earnings call in February

 of 2020 that the impact of increases in raw material costs was “only . . . marginal,” and that Sika

 had continued to improve its material margin by remaining “very much . . . focused on pricing.”129

 During another earnings call one year later, Widmer explained that Sika’s material margin of

 54.8% in 2020 was “supported by decreasing raw material costs . . . in combination with

 disciplined pricing,” which allowed it to “add[] 50 basis points in price effect.” 130

         119. RPM’s Sullivan bragged about his company’s ability to maintain its high pricing

 when asked whether Euclid Group intended to cut its prices due to recent, slumping demand: “In

 the past cycles, we’ve been able to maintain the vast majority of the price increases that we’ve

 initiated, and we would expect to do exactly the same thing here. If you look at our performance

 in past commodity cycles on the down cycle, we should pick up $100 million to $200 million of

 margin benefit and we’re working hard to do that, and we intend to do it.” 131

         120. Several Defendants have cited their “pricing discipline” in explaining profit margin

 increases to investors.

         121. For example, Sika CEO Thomas Hasler explained that the “remarkable” increase

 in Sika’s material margin in the first half of 2023 was “a result of our pricing discipline and




129
   Sika AG, Full Year 2019 Earnings Call Transcript (Feb. 21, 2020), https://seekingalpha.com/article/4326363-
sika-ag-sxyay-ceo-paul-schuler-on-full-year-2019-results-earnings-call-transcript.
130
   Sika AG, Q4 2020 Earnings Call Transcript (Feb. 20, 2021), https://seekingalpha.com/article/4407686-sika-ag-
sxyay-ceo-paul-schuler-on-q4-2020-results-earnings-call-transcript (emphasis added).
131
   RPM, Q2 2023 Earnings Call Transcript (Jan. 5, 2023), https://www.rpminc.com/media/4564/rpm-
usq_transcript_2023-01-05.pdf.

                                                       39
          Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 41 of 91




 excellence.” 132 This was echoed in Sika’s 2023 Half-Year Report, which reported “disciplined

 sales price management,” coupled with lower costs, as improving its gross margin. 133

         122. Similarly, in an October of 2021 press release, Saint-Gobain Group cited a

 “[c]onstant focus on the price-cost spread” and “strong pricing discipline amid strong inflation”

 as its “strategic priorities” for 2021. 134

         123. And in July of 2023, when an analyst asked RPM’s Sullivan what had driven the

 “significant increase” in profit margin for RPM’s construction segment in the prior quarter,

 Sullivan boasted about Euclid Group’s pricing discipline: “[W]e had a few distributors that were

 hinting at … we can boost some product if you discount. And I think we held our pricing and held

 our discipline. And let’s say everybody held their breath until they needed inventory, and it started

 showing up in May. And that positive trend is continuing as we enter the first quarter.” 135

        F.       Defendants Have Consolidated Their Control Over CCAs

         124. Beginning at least as early as 2014, Compagnie de Saint-Gobain S.A. launched a

 hostile takeover of Sika AG. 136 Between 2014 and 2018, Compagnie de Saint-Gobain S.A.

 acquired almost 25% of Sika AG’s stock and was the single largest shareholder. 137 However, on


132
   Sika AG, Q2 2023 Earnings Call Transcript (Aug. 4, 2023), https://seekingalpha.com/article/4624149-sika-ag-
sxyay-q2-2023-earnings-call-transcript.
133
   Sika, Half-Year Report (2023), 19 https://www.sika.com/content/dam/dms/corporate/media/glo-hy-2023-half-
year-
report.pdf?_gl=1*1smz2e5*_ga*MjA0NzgwMDU4NC4xNjk3ODI0MDYx*_ga_K04G1QB2XC*MTcwMDIzNDU
0NC40LjEuMTcwMDIzNDU2OS4wLjAuMA (emphasis added).
  Saint-Gobain, Press Release (Oct. 28, 2021), https://www.saint-gobain.com/sites/saint-
134

gobain.com/files/media/document/CP_CA_9M_2021_VA.pdf (emphasis added).
135
   RPM Q4 2023 Earnings Call Transcript (Jul. 26, 2023), https://www.rpminc.com/media/4837/rpm-q4-23-
transcript.pdf (emphasis added).
  Saint-Gobain Remains Committed to Deal to Take over Sika, https://www.reuters.com/article/us-sika-cie-saint-
136

gobain-idUSKBN1300II (last updated Nov. 5, 2016).
137
   Market Watch, Saint-Gobain, Sika and Burkard Family End Dispute (May 11, 2018),
https://www.marketwatch.com/story/saint-gobain-sika-and-burkard-family-end-dispute-2018-05-11; VY Tyndall
Global Select Fund Commentary, 5 (Oct. 2019), https://www.tyndallim.co.uk/wp-content/uploads/2019/11/1910-


                                                       40
          Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 42 of 91




 May 11, 2018, Compagnie de Saint-Gobain S.A. abandoned its takeover attempt, and agreed to

 reduce its stake to more than ten percent, which it agreed to hold for at least two years. 138 Before

 selling its Sika AG stock in 2020, Compagnie de Saint-Gobain S.A. was the largest shareholder

 in Sika AG. 139

          125. As this merger began to falter, Compagnie de Saint-Gobain S.A. and Sika AG,

 through their shared ownership and financial interests, began a coordinated campaign of buying

 up their smaller competitors. At all times, these efforts were aided and abetted by Cinven, a

 private equity firm with substantial investments in the CCA space. Euclid Group joined in its co-

 conspirators’ consolidation efforts no later than April of 2022.

          126. With regard to Compagnie de Saint-Gobain S.A. and beginning in March of 2017,

 Cinven acquired Chryso. 140 In the months that followed, Chryso, under the ownership and control

 of Cinven, acquired at least four competing CCA manufacturers, 141 including Italy’s Ruredil in




VT-Tyndall-Global-Select-Fund-Commentary.pdf; Saint-Gobain Sells Sika Stake, Formally Ending Bitter Takeover
Battle, https://www.reuters.com/article/us-sika-m-a-saintgobain/saint-gobain-sells-sika-stake-formally-ending-bitter-
takeover-battle-idUSKBN2331J1 (last updated May 27, 2020).
138
   Market Watch, Saint-Gobain, Sika and Burkard Family End Dispute (May 11, 2018),
https://www.marketwatch.com/story/saint-gobain-sika-and-burkard-family-end-dispute-2018-05-11; Saint-Gobain’s
U.S. Deal will Cement its Sika Envy, https://www.reuters.com/breakingviews/saint-gobains-us-deal-will-cement-its-
sika-envy-2021-12-06/ (last updated Dec. 6, 2021).
139
   VY Tyndall Global Select Fund Commentary, 5 (Oct. 2019), https://www.tyndallim.co.uk/wp-
content/uploads/2019/11/1910-VT-Tyndall-Global-Select-Fund-Commentary.pdf; Saint-Gobain Sells Sika Stake,
Formally Ending Bitter Takeover Battle, https://www.reuters.com/article/us-sika-m-a-saintgobain/saint-gobain-sells-
sika-stake-formally-ending-bitter-takeover-battle-idUSKBN2331J1 (last updated May 27, 2020).
140
   CHRYSO, Completion of the Acquisition of Chryso by Cinven (July 8, 2017),
https://www.chrysogulf.com/news/83/completion-of-the-acquisition-of-chryso-by-cinven.
141
   Cinven, Cinven to Sell Chryso to Saint Gobain (May 20, 2021), https://www.cinven.com/media/news/cinven-to-
sell-chryso-to-saint-gobain.

                                                         41
          Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 43 of 91




 June of 2018, 142 Portugal’s Euromodal in October of 2018, 143 Ireland’s Chemtec in October of

 2018, 144 and Morocco’s Aptex in October of 2020. 145 Compagnie de Saint-Gobain S.A. acquired

 Chryso from Cinven in September of 2021, and then, just three months later, in December of

 2021, acquired GCP. 146

          127. Compagnie de Saint-Gobain S.A. subsequently consolidated its management of

 these earlier-competitors under the control of a newly-created “Construction Chemicals Business

 Unit” and appointed the incumbent Chryso President, Steve Williams, as the President of this

 unit, 147 and incumbent Chryso CEO, Thierry Bernard (who was previously employed by Cinven),

 as the General Manager of this unit. 148 Compagnie de Saint-Gobain S.A. has combined Chryso

 and GCP’s manufacturing and sale of CCAs, such that these former competitors now operate as

 a single, combined unit. 149




142
    Cinven, Chryso to Acquire Certain Ruredil assets and Enlarges its Offering for Construction Materials in Italy
(June 28, 2018), https://www.cinven.com/media/news/chryso-to-acquire-certain-ruredil-assets-and-enlarges-its-
offering-for-construction- materials-in-italy/.
143
    Cinven, Chryso Acquires Euromodal and Enlarges its Offering for Construction Materials in Portugal (Oct. 19,
2018), https://www.cinven.com/media/news/chryso-acquires-euromodal-and-enlarges-its-offering-for-construction-
materials-in- portugal/.
144
   CHRYSO, Chryso Acquires Chemtec Admixtures Limited in Ireland (Oct. 3, 2018),
https://uk.chryso.com/news/195/chryso-acquires-chemtec-admixtures-limited-in-ireland.
145
   CHRYSO Chryso Strengthens its Presence in Morocco with Aptex (Oct. 15, 2020),
https://www.chryso.com/news/chryso-strengthens-its-presence-in-morocco-with-aptex/.
146
   Chemical & Engineering News, Saint-Gobain to Buy Construction Chemical Maker GCP for $2.3 Billion (Dec.
7, 2021), https://cen.acs.org/business/specialty-chemicals/Saint-Gobain-buy-construction-chemical/99/web/2021/12.
147
    Business Wire, Steve Williams Appointed President of the Newly Created Construction Chemicals Business Unit
for North America (Oct. 17, 2022), https://www.businesswire.com/news/home/20221012005926/en/Steve-Williams-
Appointed-President-of-the-Newly-Created-Construction-Chemicals-Business-Unit-for-North-America.
148
    CHRYSO, New Business Unit Within Saint-Gobain High Performance Solutions: Constructions Chemicals (Oct.
3, 2022), https://www.chryso.com/news/new-business-unit-within-saint-gobain-high-performance-solutions-
construction- chemicals/.
149
    Concrete Products, Saint-Gobain Institutes Integrated Chryso, GCP Production Strategy (July 3, 2023),
https://concreteproducts.com/index.php/2023/07/03/saint-gobain-institutes-integrated-chryso-gcp-production-
strategy/; Concrete Products, Saint-Gobain Proceeds with Integrated Chryso, GCP Production (Aug. 14, 2023).

                                                         42
          Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 44 of 91




          128. With regard to Sika AG and beginning in late 2018, Sika AG expressed an interest

 in acquiring Master Builders Group, which at the time, was owned by BASF. 150 But after

 acquiring another major competitor in the CCA space—France’s Parex— in January of 2019, 151

 Sika AG initially abandoned its interest in Master Builders Group because, according to its CEO,

 it did “not believe a deal for all the company would be possible because of anti-trust concerns by

 regulators.” 152 BASF eventually sold Master Builders Group to another hedge fund (Lone Star)

 for €3.17 billion, the sale of which closed in the third quarter of 2020. 153

          129. Then, just one year later, in November of 2021, Sika AG announced that it would

 be acquiring Master Builders Group for $5.9 billion – nearly double what Lone Star had paid for

 it. 154 However, due to “competition concerns” raised by the UK’s CMA, Cinven (which, as noted

 above, had just sold Chryso to Compagnie de Saint-Gobain S.A.) acquired MBSD’s United States

 assets, including MBSA, in early 2023. 155 Specifically, MBSD’s assets were split into two parts:

 the first, which encompassed MBSD’s assets in the UK, United States, Canada, Europe, Australia,

 and New Zealand, was sold to Cinven; and the second, which encompassed MBSD’s assets in the



150
   Sika Interested in Parts of BASF’s Construction Chemical Business, https://www.reuters.com/article/us-sika-ceo-
basf/sika-interested-in-parts-of-basfs-construction-chemicals-business-idUSKCN1QB1CP (last updated Feb. 22,
2019).
151
   CVC, Sika Makes Binding Offer to Acquire Parex (Jan. 8, 2019), https://www.cvc.com/media/news/2019/2019-
01-08-sika-makes-binding-offer-to-acquire-parex/.
152
   BRIEF-Sika CEO Rules out Deal for Whole BASF Construction Chemical Business,
https://www.reuters.com/article/brief-sika-ceo-rules-out-deal-for-whole/brief-sika-ceo-rules-out-deal-for-whole-
basf-construction-chemical-business-idUKZ8N1UN017 (last updated Jan. 8, 2019).
153
   Concrete Construction, Lone Star Funds to Acquire Master Builders (Dec. 27, 2019),
https://www.concreteconstruction.net/products/concrete-construction-materials/lone-star-funds-to-acquire-master-
builders_c#:~:text=BASF%20has%20finally%20found%20a,of%20BASF's%20Construction%20Chemicals%20bus
iness.
154
    Chemical Engineering, Sika to Acquire MBCC Group for €5.2 billion (Nov. 11, 2021),
https://www.chemengonline.com/sika-to-acquire-mbcc-group-for-e5-2-billion/?printmode=1.
155
   Adhesives & Sealants Industry, Sika to Sell MBCC Group’s Chemical Admixture Assets to Cinven (Mar. 27,
2023), https://www.adhesivesmag.com/articles/100079-sika-to-sell-mbcc-groups-chemical-admixture-assets-to-
cinven.

                                                        43
             Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 45 of 91




 rest of the World, was sold to Sika AG. While this arrangement appeared to appease antitrust

 regulators around the World, it was soon revealed that it yielded anticompetitive effects. Sika has

 admitted that it views Cinven as its partner, not its competitor. Remarking on the spin-off, Sika’s

 CEO, Thomas Hasler, remarked, “Cinven with its extensive expertise in this sector is an ideal

 partner for continuing the successful growth path of this business. . . .” 156 Hasler also bragged

 about Sika’s dominance in the concrete admixture industry following the deal with MBSD, stating

 that its “product offering in the segment of concrete admixture is super strong and almost []

 unchallengeable by others because we now have really the full innovation pipeline for the future

 ready and also very strong backup with the supply chain that is coming together.” 157

            130. With regard to Euclid Group, in November of 2021, RPM acquired J.W. Brett Inc.

 d/b/a Brett Admixtures, and in April of 2022, 158 RPM acquired Chryso’s North American cement

 grinding aids and additives business from Saint-Gobain Group. 159

            131. Sika AG, Compagnie de Saint-Gobain S.A., and RPM’s expensive acquisitions of

 their competitors at a time when raw material costs for CCAs were allegedly skyrocketing makes

 little economic sense absent a conspiracy to artificially inflate the price of CCAs, such as that

 alleged here. Indeed, the huge sums paid for these competitors is all the more surprising in light

 of the trouble that BASF had in unloading Master Builders Group a short time prior.




156
   Saint-Gobain’s U.S. Deal will Cement its Sika Envy, https://www.reuters.com/breakingviews/saint-gobains-us-
deal-will-cement-its-sika-envy-2021-12-06/ (last updated Dec. 6, 2021) (emphasis added).
157
   Sika AG, Q2 2023 Earnings Call Transcript (Aug. 4, 2023), https://seekingalpha.com/article/4624149-sika-ag-
sxyay-q2-2023-earnings-call-transcript.
158
      RPM International, Proxy Statement (Aug. 24, 2022), https://www.rpminc.com/media/3815/proxy-statement.pdf.
159
      Id.

                                                        44
          Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 46 of 91




        G.       The Structure and Characteristics of the Market for CCAs Support the
                 Existence of a Conspiracy

         132. The structure and other characteristics of the market for CCAs make it conducive

 to anticompetitive conduct among Defendants and make collusion particularly attractive.

                  1.      The Supply Side of the CCA Market Is Highly Concentrated, and the
                          Defendants Are the Dominant Firms
         133. The presence of a small group of major sellers is one of the conditions that the DOJ

 has identified as being favorable to collusion. 160 Put differently, a highly concentrated market is

 more susceptible to collusion and other anticompetitive practices than less concentrated markets.

         134. As the DOJ has noted, “mergers can reduce choices for consumers, workers, and

 other businesses, leaving them increasingly dependent on larger and more powerful firms that

 have purchased greater power to dictate the terms of their deals.” 161 Indeed, the DOJ updated its

 Merger Guidelines in 2023 to better address the economic consequences of anticompetitive

 mergers because, as Attorney General Merrick Garland noted, “unchecked consolidation

 threatens the free and fair markets upon which our economy is based.” 162

         135. The Defendants that were targeted in dawn raids by European antitrust regulators,

 Defendants Sika, Saint-Gobain Group, and Master Builders Group, are among the largest

 producers of CCAs in the World, as well as in the United States and its territories. 163



160
   Justice.gov, Price Fixing, Bid Rigging, and Market Allocation Schemes: What They Are and What to Look For,
https://www.justice.gov/d9/pages/attachments/2016/01/05/211578.pdf.
161
    Press Release, Office of Public Affairs, U.S. Department of Justice, Justice Department and Federal Trade
Commission Seek to Strengthen Enforcement Against Illegal Mergers (Jan. 18, 2022),
https://www.justice.gov/opa/pr/justice-department-and-federal-trade-commission-seek-strengthen-enforcement-
against-illegal (emphasis added).
162
    Press Release, Office of Public Affairs, U.S. Department of Justice, Justice Department and FTC Seek Comment
on Draft Merger Guidelines (July 19, 2023), https://www.justice.gov/opa/pr/justice-department-and-ftc-seek-
comment-draft-merger-guidelines.
163
   Industry ARC, Concrete Admixtures      Market – Forecast 2023–2028,
https://www.industryarc.com/Report/15114/concrete-admixtures-


                                                       45
             Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 47 of 91




            136. Other manufacturers of CCAs do not meaningfully compete with Defendants.

 Several of these other, smaller manufacturers of CCAs told the CMA that even if they wanted to

 compete with the Defendants, they would not be able to do so effectively because of challenges

 in scaling up their operations, as well as the reluctance of CCA purchasers to switch from their

 existing CCA manufacturer(s). 164

            137. In fact, at least some of the Defendants’ internal documents indicate that they

 consider the other Defendants to be their only close competitors. 165

            138. Because the manufacture of CCAs is highly concentrated, with the Defendants

 controlling the vast majority of production, this market is highly susceptible to collusion.

                    2.       Barriers to Entry Are High

            139. A collusive arrangement that raises product prices above competitive levels would,

 under basic economic principles, attract new entrants seeking to benefit from the supra-

 competitive pricing. When, however, there are significant barriers to entry, new entrants are much

 less likely to enter the market.

            140. There are high barriers to entry to effectively compete in the manufacture of CCAs,

 including the following: (a) the time and cost associated with effectively scaling CCAs

 manufacturing operations (i.e., building new production and storage facilities in closer proximity

 to CCA purchasers); (b) the research and development investment required to develop new

 products (i.e., polymers), and then support their introduction into the market; (c) sellers of the

 raw materials necessary to manufacture CCAs (i.e., polymers) favor the larger, entrenched


market.html#:~:text=Major%20players%20in%20the%20Concrete,ve%20Tic.&file=/fileadmin/symrise/Downloads
_reports/reports/documents/2023/230308-Symrise-Financial-Report-2022.pdf#page=14.
  Id. at ¶¶ 107. 113, 118CMA, Phase 1 Referral Decision in Sika-Master Builders Merger, ¶¶ 136, 118, (Sept. 23,
164

2022).
165
      CMA, Phase 1 Referral Decision in Sika-Master Builders Merger, ¶ 89, 96, 101 (Sept. 23, 2022).

                                                          46
              Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 48 of 91




 manufacturers of CCAs; and (d) the long-standing, existing relationships between CCA

 manufacturers and customers. 166

             141. These high barriers to entry are amplified by the difficulty purchasers of CCAs have

 in switching manufacturers once selected. This is because smaller suppliers of CCAs cannot

 quickly build up their scale and capacity for potentially-switching customers, 167 and because

 supply contracts typically have a term of one to three years. 168 Purchasers of CCAs thus face

 switching costs and are frequently locked-in to purchasing CCAs from the Defendants in this case

 – the three largest manufacturers and sellers of CCAs in the World, including in the United States

 and its territories. 169

             142. The CMA, in determining that the acquisition by Sika AG of MBSD would be

 anticompetitive, noted as follows: “There are significant barriers to entry and expansion and,

 although a number of suppliers have expansion plans, these will not have a significant enough

 effect on the structure of the market to prevent an SLC [“Substantial Lessening of Competition”]

 even if these plans materialise.” 170

             143. The high barriers to entry in the manufacture of CCAs make it unlikely that supra-

 competitive prices would result in new competitors entering the market. These high barriers to

 entry also make the market more susceptible to collusion.




166
      Id. at ¶ 128.
167
      Id. at ¶ 50.
168
      CMA, Provisional Findings Report, ¶6.50 (Oct. 25, 2022).
169
      CMA, Phase 1 Referral Decision in Sika-Master Builders Merger, ¶ 50 (Sept. 23, 2022).
170
   CMA, Anticipated Acquisition by Sika AG of MBCC, Group Decision to Refer (Aug. 10, 2022),
https://assets.publishing.service.gov.uk/media/63469a408fa8f53465d139b4/Decision_to_refer_full_text Sika-
MBCC_.pdf.

                                                         47
          Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 49 of 91




                 3.       The Demand Side of the CCA Market Is Unconcentrated

         144. The unconcentrated nature of the demand side of the CCA market also makes this

 market susceptible to collusion.

         145. In 2021, there were nearly 9,000 concrete and cement product manufacturing

 establishments in the United States and its territories. 171

         146. Such a large number of buyers, each of whom forms a small share of the total

 marketplace, means that there is less incentive for Defendants to cheat on collusive pricing

 arrangements, since each potential sale is small while the risk of disrupting the collusive pricing

 agreement carries large penalties.

                 4.        Demand for CCAs Is Inelastic

         147.     Industries with inelastic demand are more susceptible to cartel behavior because

 of the potential for large increases in revenue resulting from the higher cartel prices. There are

 three primary characteristics that demonstrate the inelasticity of demand for CCAs: (a) a lack of

 substitute goods, (b) the essential nature of CCAs in cement, concrete, and mortar, and (c) CCAs

 being a small portion of the overall cost of the final good.

                          a.       There are No Substitutes for CCAs

         148.     The DOJ has also recognized that standardized products which lack substitutes is

 a condition favorable to collusion, as substitute goods can serve to restrain price increases and

 temper the effects of a price-fixing conspiracy. 172




171
   Census.Gov, 2021 County           Business Patterns (CBP) Data, https://www.census.gov/programs-
surveys/cbp/data/tables.html (last updated May 19, 2022).
172
   Price Fixing, Bid Rigging, and Market Allocation Schemes: What They Are and What to Look For (justice.gov),
https://www.justice.gov/d9/pages/attachments/2016/01/05/211578.pdf.

                                                       48
              Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 50 of 91




             149. Purchasers of CCAs do not generally view CCAs as interchangeable, nor do

 purchasers view there as being substitutes for CCAs. 173

             150. In addition, and as set forth above, purchasers of CCAs face high switching costs

 as between specific CCAs. This is the case for at least three reasons. First, “extensive testing is

 required to ensure that any new [CCA] products are suitable for [the customer’s] particular

 aggregates and requirements, with this process becoming more difficult the larger and more

 complex a [CCA] customer’s operations are.” 174 Second, purchasers of CCAs frequently have to

 obtain their own customers’ approval before switching CCAs.175 Third, purchasers of CCAs

 frequently must train their employees on how to use new CCAs before those CCAs can be used. 176

 The lack of substitute goods makes this market susceptible to collusion.

                          b.     CCAs Are a Necessity

             151. CCAs are perceived by purchasers as providing economic, commercial, and

 environmental benefits to the cement, concrete, and mortars that incorporate them. They are

 therefore viewed as essential to projects involving concrete, cement, and/or mortar. 177

             152. Purchasers of CCAs are thus unable to respond to price increases by buying less.

             153. Purchasers’ need for CCAs also makes this market more susceptible to collusion.




173
      Id. at ¶¶ 53-64.
174
      Id. at ¶ 11.
175
      Id. at ¶ 51.
176
      Id. at ¶ 50.
  “Sika’s product offering is…essential to their end users…” (VY Tyndall Global Select Fund Commentary,
177

October 2019, p. 4); see also CMA, Provisional Findings Report at ¶ 6 .30-6.31 (Oct. 25, 2022).

                                                     49
             Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 51 of 91




                             c.      CCAs Comprise a Small Share of the Cost of the Final Product

            154. CCAs often make up only about one percent (1%) to seven percent (7%) of the

 overall cost of the finished products in which they are used. 178

            155. This also makes this market especially susceptible to collusion.

           H.       Defendants’ Fraudulently Concealed Their Conduct

            156. Plaintiff had no knowledge of the Defendants’ anticompetitive conduct alleged

 herein, or of facts sufficient to place them on notice of the claims set forth herein, until, at the

 earliest, October 17, 2023, when the EC announced its investigation into the Defendants and that

 it was coordinating with the Turkish Competition Authority, the CMA, and the DOJ. As a result,

 Plaintiff did not discover, nor could it have discovered through the exercise of reasonable

 diligence, the existence of the conspiracy alleged herein before that date. Prior to October 17th,

 2023, there was insufficient information to suggest that the Defendants were involved in a

 conspiracy to fix prices for CCAs.

            157. Therefore, the statute of limitation on the claims asserted herein was tolled by

 fraudulent concealment until at least October 17, 2023. Defendants affirmatively and wrongfully

 concealed their anticompetitive conduct since the beginning of the Class Period.

            158. Defendants’ conspiracy was inherently self-concealing. The success of the

 conspiracy depended on the Defendants and their co-conspirators keeping the price-fixing

 conduct alleged herein secret from customers and government authorities. Plaintiff reasonably

 believed it was purchasing CCAs in a competitive industry.

            159. Defendants and their co-conspirators also took affirmative steps to conceal the

 conspiracy and carry it out in a manner that would evade detection. For example, each Defendant


178
      CMA, Provisional Findings Report at ¶ 6.32 (Oct. 25, 2022).

                                                          50
             Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 52 of 91




 has a “Code of Conduct” that appears to prohibit exactly the type of conduct they engaged in

 here. 179

         160. Because Defendants’ anticompetitive conduct was both self-concealing and

 affirmatively concealed, Plaintiff did not learn or discover the operative facts giving rise to its

 claims until October 17, 2023. No information, actual or constructive, was ever made available

 to Plaintiff that would have led a reasonably diligent person to investigate whether a conspiracy

 in the market for CCAs existed prior to October 17, 2023.

         161. Moreover, because Plaintiff could not discover the existence of its claims prior to

 October 17, 2023, Plaintiff’s claims did not accrue until that date.

V.      CLASS ACTION ALLEGATIONS

         162. Plaintiffs bring this action on behalf of themselves, and as a class action under the

 Federal Rules of Civil Procedure, Rule 23(a) and (b)(2) seeking equitable and injunctive relief on

 behalf of the following class (the “Nationwide Class”):

                 All persons and entities that purchased CCAs other than directly
                 from Defendants or alleged co-conspirators, where the person or
                 entity purchased in the United States during the Class Period.

         163. Plaintiffs also brings this action on behalf of themselves and as a class action under

 Federal Rules of Civil Procedure, Rule 23(a) and (b)(3) seeking damages pursuant to antitrust,

 unfair competition, and consumer protection laws as well as common law unjust enrichment on

 behalf of the following Class (the “Damages Class”):



179
   Sika, Code of Conduct (May 1, 2021), https://www.sika.com/content/dam/dms/corporate/v/glo-code-of-
conduct.pdf; Saint-Gobain Group, General Principles of Conduct and Action, https://www.saint-
gobain.com/sites/saint-gobain.com/files/principles_en.pdf; Master Builders Group, Code of Conduct,
https://assets.master-builders-solutions.com/en-
global/master%20builders%20solutions%20group%20code%20of%20conduct.pdf; RPM, The Values &
Expectations of 168 (Apr. 2018),
https://www.rpminc.com/media/2114/v_es_final_version_for_the_board_meeting_april_2018.pdf.

                                                     51
          Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 53 of 91




                 All persons and entities that purchased CCAs other than directly
                 from Defendants or alleged co-conspirators, where the person or
                 entity purchased in an Indirect Purchaser State 180 during the Class
                 Period.

         164. The Nationwide Class and Damages Class are referred to collectively as the

 “Classes” unless otherwise indicated. Specifically excluded from the Classes are the Defendants,

 their parent companies, subsidiaries and affiliates, co-conspirators, federal government entities

 and instrumentalities of the federal government, states and their subdivisions, agencies and

 instrumentalities, the Court, and persons who purchased CCAs directly from Defendants.

         165. Numerosity. While Plaintiffs do not know the exact number of the members of the

 Classes, Plaintiffs believe there are (at least) thousands of members in the Classes. Joinder is

 therefore impracticable.

         166. Commonality. Common questions of law and fact exist as to all members of the

 Classes. This is particularly true given the nature of the Defendants’ conspiracy, which was

 generally applicable to all the members of the Classes, thereby making appropriate relief with

 respect to the Classes as a whole. Such questions of law and fact common to the Classes include,

 but are not limited to:

                 a.       Whether the Defendants and their co-conspirators engaged in a combination

                          and conspiracy among themselves to fix, raise, maintain, or stabilize the

                          prices of CCAs sold in the United States;

                 b.       The identity of the participants of the alleged conspiracy;




  The “Indirect Purchaser States” as listed below in Counts II, III, and IV are: Arizona, Arkansas, California,
180

Connecticut, District of Columbia, Hawaii, Illinois, Iowa, Kansas, Maine, Michigan, Minnesota, Mississippi,
Missouri, Nebraska, Nevada, New Hampshire, New Mexico, New York, North Carolina, North Dakota, Oregon,
Rhode Island, South Carolina, South Dakota, Tennessee, Utah, Vermont, West Virginia, and Wisconsin.

                                                        52
        Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 54 of 91




              c.      The duration of the alleged conspiracy and the acts carried out by

                      Defendants and their co-conspirators in furtherance of the conspiracy;

              d.      Whether the alleged conspiracy violated federal antitrust laws and/or state

                      antitrust, unfair competition, and/or consumer protection laws, as alleged in

                      the following Claims for Relief;

              e.      Whether the Defendants unjustly enriched themselves to the detriment of

                      the Plaintiffs and the Class, thereby entitling Plaintiffs and Class Members

                      to disgorgement of all benefits derived by Defendants, as alleged in the

                      following Claims for Relief.

              f.      Whether the conduct of the Defendants and their co-conspirators, as alleged

                      in this Consolidated Amended Complaint, caused injury to the business or

                      property of Plaintiffs and Class Members;

              g.      The effect of the alleged conspiracy on the prices of CCAs sold in the

                      United States during the Class Period;

              h.      Whether Plaintiffs and the Class Members had any reason to know or

                      suspect the conspiracy, or any means to discovery the conspiracy;

              i.      Whether the Defendants and their co-conspirators fraudulently concealed

                      the conspiracy’s existence from Plaintiffs and Class Members;

              j.      The appropriate class-wide measure of damages for the Class.

       167. Typicality. Plaintiffs’ claims are typical of the claims of Class Members, and

Plaintiffs will fairly and adequately protect the interests of the Classes. Plaintiffs and all Class

Members are similarly affected by the Defendants’ wrongful conduct in that they paid artificially




                                                53
         Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 55 of 91




inflated prices for CCAs purchased other than directly from the Defendants or their co-

conspirators.

        168. Adequacy. Plaintiffs’ claims arise out of the same common course of conduct

giving rise to the claims of the other members of the Class. Plaintiffs’ interests are coincident

with, and not antagonistic to, those of the other members of the Classes. Plaintiffs are represented

by counsel who are competent and experienced in the prosecution of antitrust and class action

litigation.

        169. Predominance. The questions of law and fact common to the Class Members

predominate over any questions affecting only individual members, including legal and factual

issues relating to liability and damages.

        170. Superiority. Class action treatment is a superior method for the fair and efficient

adjudication of the controversy, in that, among other things, such treatment will permit a large

number of similarly situated persons to prosecute their common claims in a single form

simultaneously, efficiently and without the unnecessary duplication of evidence, effort, and

expense that numerous individual actions would engender. The benefits of proceeding through

the class mechanism, including providing injured persons or entities with a method for obtaining

redress for claims that might not be practicable to pursue individually, substantially outweigh any

difficulties that may arise in the management of this class action.

        171. The prosecution of separate actions by individual members of the Classes would

create a risk of inconsistent or varying adjudications, establishing incompatible standards of

conduct for the Defendants.

VI.    INTERSTATE TRADE AND COMMERCE




                                                54
        Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 56 of 91




        172. Billions of dollars of transactions in CCAs are entered into each year in interstate

commerce in the United States and the payments for those transactions flowed in interstate

commerce.

        173. Defendants’ conspiracy had a direct, substantial, and foreseeable impact on

interstate commerce in the United States.

        174. Defendants intentionally targeted their unlawful conduct to affect commerce,

including interstate commerce within the United States, by combining, conspiring, and/or

agreeing to fix, maintain, stabilize, and/or artificially inflate prices for CCAs in the United States.

        175. Defendants’ unlawful conduct has a direct and adverse impact on competition in

the United States. Absent Defendants’ conspiracy to fix the prices of CCAs sold in the United

States, the prices of CCAs would have been determined by a competitive, efficient market.

VII.   ANTITRUST INJURY

        176. Defendants’ antitrust conspiracy had the following effects, among others:

              a.      Price competition has been restrained or eliminated with respect to the

                      pricing of CCAs;

              b.      The prices of CCAs have been fixed, raised, maintained, or stabilized at

                      artificially inflated levels;

              c.      Purchasers of CCAs have been deprived of the benefits of free and open

                      competition; and

              d.      Purchasers of CCAs paid artificially inflated prices.

        177. The purpose of the conspiratorial and unlawful conduct of Defendants and their co-

conspirators was to fix, raise, stabilize and/or maintain the price of CCAs.




                                                  55
          Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 57 of 91




          178. The precise amount of the overcharge impacting the prices of CCAs paid by

Plaintiff and the Class can be measured and quantified using well-accepted models.

          179. By reason of the alleged violations of the antitrust laws, Plaintiff and the members

of the Class have sustained injury to their businesses or property, having paid higher prices for

CCAs than they would have paid in the absence of Defendants’ illegal contract, combination, or

conspiracy and, as a result, have suffered damages in an amount presently undetermined. This is

an antitrust injury of the type that the antitrust laws were meant to punish and prevent.

                                      CAUSES OF ACTION

                                             COUNT I

              Violation of Sections 1 and 3 of the Sherman Act (15 U.S.C. §§ 1, 3)

                               (Conspiracy in Restraint of Trade)

          180. Plaintiff repeats and realleges the allegations set forth above as if set forth fully

herein.

          181. From at least May 11, 2018, until the effects of their unlawful conduct cease,

Defendants and their co-conspirators entered into and engaged in a contract, combination, or

conspiracy with regards to CCAs in unreasonable restraint of trade in violation of Sections 1 and

3 of the Sherman Act (15 U.S.C. §§ 1, 3).

          182. The contract, combination, or conspiracy consisted of an agreement among the

Defendants and their co-conspirators to fix, raise, stabilize or maintain at artificially high levels

the prices they charged for CCAs in the United States.

          183. In formulating and effectuating this conspiracy, on information and belief,

Defendants and their co- conspirators did those things that they combined and conspired to do,

including the following:



                                                 56
        Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 58 of 91




              a.      exchanging competitively sensitive information among themselves, with

                      the aim to fix, increase, maintain, or stabilize prices of CCAs in the United

                      States;

              b.      participating in meetings and conversations among themselves during

                      which they agreed to fix, increase, maintain, or stabilize prices of CCAs a

                      in the United States; and

              c.      participating in meetings and conversations among themselves to

                      implement, adhere, and police the agreements they reached.

        184. Defendants and their co-conspirators engaged in the actions described above for the

purpose of carrying out their unlawful agreements to fix, maintain, raise, or stabilize prices of

CCAs.

        185. Defendants’ conspiracy had the following effects, among others:

              a.      Price competition in the market for CCAs has been restrained, suppressed,

                      and/or eliminated;

              b.      Prices for CCAs provided by Defendants and their co-conspirators have

                      been fixed, raised, maintained, and stabilized at artificially high, non-

                      competitive levels throughout the United States; and

              c.      Plaintiff and members of the Class who purchased CCAs from Defendants

                      and their co-conspirators have been deprived of the benefits of free and open

                      competition.

        186. Plaintiff and members of the Class have been injured and will continue to be injured

in their business and property by paying more for CCAs purchased from Defendants and their co-

conspirators than they would have paid and will pay in the absence of the conspiracy.



                                                  57
        Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 59 of 91




        187. The alleged contract, combination, or conspiracy is a per se violation of the federal

antitrust laws.

        188. Plaintiff and members of the Class are entitled to an injunction against Defendants,

preventing and restraining the violations alleged herein.

                                           COUNT II

                           Violations of the State Antitrust Statutes

        189. Plaintiffs incorporate by reference the allegations in the preceding paragraphs.

        190. During the Class Period, Defendants engaged in a continuing contract,

combination, or conspiracy with respect to the sale of CCAs in unreasonable restraint of trade in

commerce, in violation of the various state antitrust statutes set forth below.

        191. Defendants’ acts and combinations in furtherance of the conspiracy have caused

unreasonable restraints in the market for CCAs.

        192. As a result of Defendants’ unlawful conduct, Plaintiffs and other similarly situated

Indirect Purchasers in the Damages Class who purchased CCAs have been harmed by being

forced to pay artificially-inflated, supracompetitive prices for CCAs.

        193. By engaging in the foregoing conduct, Defendants intentionally and wrongfully

engaged in a contract, combination, or conspiracy in restraint of trade in violation of the following

state antitrust laws pleaded below.

        194. Arizona: Defendants have entered into an unlawful agreement in restraint of trade

in violation of Ariz. Rev. Stat. §§ 44-1402, et seq. with respect to purchases of CCAs in Arizona

by Class members and/or purchases by Arizona residents.

                  a.   Defendants’ combination or conspiracy had the following effects: (1) CCA

                       price competition was restrained, suppressed, and eliminated throughout



                                                58
       Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 60 of 91




                    Arizona; (2) CCA prices were raised, fixed, maintained and stabilized at

                    artificially high levels throughout Arizona; (3) members of the Damages

                    Class were deprived of free and open competition; and (4) members of the

                    Damages Class paid supracompetitive, artificially inflated prices for CCAs.

             b.     During the Class Period, Defendants’ illegal conduct substantially affected

                    Arizona commerce.

             c.     As a direct and proximate result of Defendants’ unlawful conduct, members

                    of the Damages Class have been injured in their business and property and

                    are threatened with further injury.

             d.     Defendants entered into agreements in restraint of trade in violation of Ariz.

                    Rev. Stat. §§ 44-1401, et seq. Accordingly, members of the Damages Class

                    seek all forms of relief available under Ariz. Rev. Stat. §§ 44-1402, et seq.

       195. California: Defendants have entered into an unlawful agreement in restraint of

trade in violation of Cal. Bus. And Prof. Code, §§ 16720, et seq. with respect to purchases of

CCAs in California by Class members and/or purchases by California residents.

             a.     During the Class Period, Defendants entered into and engaged in a

                    continuing unlawful trust in restraint of the trade and commerce described

                    above in violation of Section 16720, California Business and Professions

                    Code. Defendants, each of them, have acted in violation of Section 16720

                    to fix, raise, stabilize, and maintain prices of CCAs at supracompetitive

                    levels.

             b.     The aforesaid violations of Section 16720, California Business and

                    Professions Code, consisted, without limitation, of a continuing unlawful



                                              59
Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 61 of 91




          trust and concert of action among the Defendants, the substantial terms of

          which were to fix, raise, maintain, and stabilize the prices of CCAs.

    c.    For the purpose of forming and effectuating the unlawful trust, the

          Defendants have done those things which they combined and conspired to

          do, including but not limited to the acts, practices and course of conduct set

          forth above and the following: (1) fixing, raising, stabilizing, and pegging

          the price of CCAs.

    d.    The combination and conspiracy alleged herein has had, inter alia, the

          following effects: (1) price competition in the sale of CCAs has been

          restrained, suppressed, and/or eliminated in the State of California; (2)

          prices for CCAs sold by Defendants have been fixed, raised, stabilized, and

          pegged at artificially high, non-competitive levels in the State of California

          and throughout the United States; and (3) those who purchased CCAs other

          than directly from Defendants have been deprived of the benefit of free and

          open competition.

    e.    As a direct and proximate result of Defendants’ unlawful conduct, members

          of the Damages Class have been injured in their business and property in

          that they paid more for CCAs than they otherwise would have paid in the

          absence of Defendants’ unlawful conduct. As a result of Defendants’

          violation of Section 16720 of the California Business and Professions Code,

          members of the Damages Class seek treble damages and their cost of suit,

          including a reasonable attorney’s fee, pursuant to Section 16750(a) of the

          California Business and Professions Code.



                                    60
        Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 62 of 91




       196. Connecticut: Defendants have entered into an unlawful agreement in restraint of

trade in violation of Conn. Gen. Stat. Ann. §§ 35-26, et seq. with respect to purchases of CCAs

in Connecticut by Class members and/or purchases by Connecticut residents.

              a.     Defendants’ combination or conspiracy had the following effects: (1) CCA

                     price competition was restrained, suppressed, and eliminated throughout

                     Connecticut; (2) CCA prices were raised, fixed, maintained, and stabilized

                     at artificially high levels throughout Connecticut; (3) members of the

                     Damages Class were deprived of free and open competition; and (4)

                     members of the Damages Class paid supracompetitive, artificially inflated

                     prices for CCAs.

              b.     During the Class Period, Defendants’ illegal conduct substantially affected

                     Connecticut commerce.

              c.     As a direct and proximate result of Defendants’ unlawful conduct, members

                     of the Damages Class have been injured in their business and property and

                     are threatened with further injury.

              d.     By reason of the foregoing, Defendants have entered into agreements in

                     restraint of trade in violation of Conn. Gen. Stat. Ann. §§ 35-26, et seq.

                     Accordingly, members of the Damages Class seek all forms of relief

                     available under Conn. Gen. Stat. Ann. §§ 35-26, et seq.

       197. District of Columbia: Defendants have entered into an unlawful agreement in

restraint of trade in violation of D.C. Code Ann. §§ 28-4502, et seq. with respect to purchases of

CCAs in the District of Columbia by Class members and/or purchases by District of Columbia

residents.



                                               61
        Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 63 of 91




              a.     Defendants’ combination or conspiracy had the following effects: (1) CCA

                     price competition was restrained, suppressed, and eliminated throughout the

                     District of Columbia; (2) CCA prices were raised, fixed, maintained, and

                     stabilized at artificially high levels throughout the District of Columbia; (3)

                     members of the Damages Class were deprived of free and open competition;

                     and (4) members of the Damages Class paid supracompetitive, artificially

                     inflated prices for CCAs.

              b.     During the Class Period, Defendants’ illegal conduct substantially affected

                     District of Columbia commerce.

              c.     As a direct and proximate result of Defendants’ unlawful conduct, members

                     of the Damages Class have been injured in their business and property and

                     are threatened with further injury.

              d.     By reason of the foregoing, Defendants have entered into agreements in

                     restraint of trade in violation of District of Columbia Code Ann. §§ 28-4502,

                     et seq. Accordingly, members of the Damages Class seek all forms of relief

                     available under District of Columbia Code Ann. §§ 28-4502 et seq.

       198. Illinois: Defendants have entered into an unlawful agreement in restraint of trade

in violation of 740 Ill. Comp. Stat. Ann. 10/1, et seq. with respect to purchases of CCAs in

Illinois by Class Members and/or purchases by Illinois residents.

              a.     Defendants’ combination or conspiracy had the following effects: (1) CCA

                     price competition was restrained, suppressed, and eliminated throughout

                     Illinois; (2) CCA prices were raised, fixed, maintained, and stabilized at

                     artificially high levels throughout Illinois; (3) members of the Damages



                                               62
       Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 64 of 91




                    Class were deprived of free and open competition; and (4) members of the

                    Damages Class paid supracompetitive, artificially inflated prices for CCAs.

             b.     During the Class Period, Defendants’ illegal conduct substantially affected

                    Illinois commerce.

             c.     As a direct and proximate result of Defendants’ unlawful conduct, members

                    of the Damages Class have been injured in their business and property and

                    are threatened with further injury.

             d.     By reason of the foregoing, Defendants have entered into agreements in

                    restraint of trade in violation of 740 Ill. Comp. Stat. Ann. 10/1, et seq.

                    Accordingly, members of the Damages Class seek all forms of relief

                    available under 740 Ill. Comp. Stat. Ann. 10/1, et seq.

       199. Iowa: Defendants have entered into an unlawful agreement in restraint of trade in

violation of Iowa Code §§ 553.4, et seq. with respect to purchases of CCAs in Iowa by Class

Members and/or purchases by Iowa residents.

             a.     Defendants’ combination or conspiracy had the following effects: (1) CCA

                    price competition was restrained, suppressed, and eliminated throughout

                    Iowa; (2) CCA prices were raised, fixed, maintained, and stabilized at

                    artificially high levels throughout Iowa; (3) members of the Damages Class

                    were deprived of free and open competition; and (4) members of the

                    Damages Class paid supracompetitive, artificially inflated prices for CCAs.

             b.     During the Class Period, Defendants’ illegal conduct substantially affected

                    Iowa commerce.




                                              63
       Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 65 of 91




             c.     As a direct and proximate result of Defendants’ unlawful conduct, members

                    of the Damages Class have been injured in their business and property and

                    are threatened with further injury.

             d.     By reason of the foregoing, Defendants have entered into agreements in

                    restraint of trade in violation of Iowa Code §§ 553.4, et seq. Accordingly,

                    members of the Damages Class seek all forms of relief available under Iowa

                    Code §§ 553.4, et seq.

       200. Kansas: Defendants have entered into an unlawful agreement in restraint of trade

in violation of Kan. Stat. Ann. §§ 50-101, et seq. with respect to purchases of CCAs in Kansas

by Class members and/or purchases by Kansas residents.

             a.     Defendants’ combination or conspiracy had the following effects: (1) CCA

                    price competition was restrained, suppressed, and eliminated throughout

                    Kansas; (2) CCA prices were raised, fixed, maintained, and stabilized at

                    artificially high levels throughout Kansas; (3) members of the Damages

                    Class were deprived of free and open competition; and (4) members of the

                    Damages Class paid supracompetitive, artificially inflated prices for CCAs.

             b.     During the Class Period, Defendants’ illegal conduct substantially affected

                    Kansas commerce.

             c.     As a direct and proximate result of Defendants’ unlawful conduct, members

                    of the Damages Class have been injured in their business and property and

                    are threatened with further injury.

             d.     By reason of the foregoing, Defendants have entered into agreements in

                    restraint of trade in violation of Kansas Stat. Ann. §§ 50-101, et seq.



                                             64
       Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 66 of 91




                     Accordingly, members of the Damages Class seek all forms of relief

                     available under Kansas Stat. Ann. §§ 50-101, et seq.

       201. Maine: Defendants have entered into an unlawful agreement in restraint of trade in

violation of Me. Rev. Stat. Ann. 10 §§ 1101, et seq. with respect to purchases of CCAs by Class

members and/or purchases by Maine residents.

             a.      Defendants’ combination or conspiracy had the following effects: (1) CCA

                     price competition was restrained, suppressed, and eliminated throughout

                     Maine; (2) CCA prices were raised, fixed, maintained, and stabilized at

                     artificially high levels throughout Maine; (3) members of the Damages

                     Class were deprived of free and open competition; and (4) members of the

                     Damages Class paid supracompetitive, artificially inflated prices for CCAs.

             b.      During the Class Period, Defendants’ illegal conduct substantially affected

                     Maine commerce.

             c.      As a direct and proximate result of Defendants’ unlawful conduct, members

                     of the Damages Class have been injured in their business and property and

                     are threatened with further injury.

             d.      By reason of the foregoing, Defendants have entered into agreements in

                     restraint of trade in violation of Me. Rev. Stat. Ann. 10, §§ 1101, et seq.

                     Accordingly, members of the Damages Class seek all relief available under

                     Me. Rev. Stat. Ann. 10, §§ 1101, et seq.

       202. Michigan: Defendants have entered into an unlawful agreement in restraint of trade

in violation of Mich. Comp. Laws Ann. §§ 445.772, et seq. with respect to purchases of CCAs

in Michigan by Class members and/or purchases by Michigan residents.



                                              65
       Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 67 of 91




             a.     Defendants’ combination or conspiracy had the following effects: (1) CCA

                    price competition was restrained, suppressed, and eliminated throughout

                    Michigan; (2) CCA prices were raised, fixed, maintained and stabilized at

                    artificially high levels throughout Michigan; (3) members of the Damages

                    Class were deprived of free and open competition; and (4) members of the

                    Damages Class paid supracompetitive, artificially inflated prices CCAs.

             b.     During the Class Period, Defendants’ illegal conduct substantially affected

                    Michigan commerce.

             c.     As a direct and proximate result of Defendants’ conduct, members of the

                    Damages Class have been injured in their business and property and are

                    threatened with further injury.

             d.     By reason of the foregoing, Defendants have entered into agreement in

                    restraint of trade in violation of Michigan Comp. Laws Ann. §§ 445.772, et

                    seq. Accordingly, members of the Damages Class seek all relief available

                    under Michigan Comp. Laws Ann. §§ 445.772, et seq.

       203. Minnesota: Defendants have entered into an unlawful agreement in restraint of

trade in violation of Minn. Stat. §§ 325D.51, et seq. with respect to purchases of CCAs in

Minnesota by Class members and/or purchases by Minnesota residents.

             a.     Defendants’ combination or conspiracy had the following effects: (1) CCA

                    price competition was restrained, suppressed, and eliminated throughout

                    Minnesota; (2) CCA prices were raised, fixed, maintained and stabilized at

                    artificially high levels throughout Minnesota; (3) members of the Damages




                                             66
       Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 68 of 91




                    Class were deprived of free and open competition; and (4) members of the

                    Damages Class paid supracompetitive, artificially inflated prices for CCAs.

             b.     During the Class Period, Defendants’ illegal conduct substantially affected

                    Minnesota commerce.

             c.     As a direct and proximate result of Defendants’ unlawful conduct, members

                    of the Damages Class have been injured in their business and property and

                    are threatened with further injury.

             d.     By reason of the foregoing, Defendants have entered into agreements in

                    restraint of trade in violation of Minnesota Stat. §§ 325D.51, et seq.

                    Accordingly, members of the Damages Class seek all relief available under

                    Minnesota Stat. §§ 325D.51, et seq.

       204. Mississippi: Defendants have entered into an unlawful agreement in restraint of

trade in violation of Miss. Code Ann §§ 75-21-3, et seq. with respect to purchases of CCAs in

Mississippi by Class members and/or purchases by Mississippi residents.

             a.     Defendants’ combination or conspiracy had the following effects: (1) CCA

                    price competition was restrained, suppressed, and eliminated throughout

                    Mississippi; (2) CCA prices were raised, fixed, maintained, and stabilized

                    at artificially high levels throughout Mississippi; (3) members of the

                    Damages Class were deprived of free and open competition; and (4)

                    members of the Damages Class paid supracompetitive, artificially inflated

                    prices for CCAs.

             b.     During the Class Period, Defendants’ illegal conduct substantially affected

                    Mississippi commerce.



                                             67
       Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 69 of 91




             c.      As a direct and proximate result of Defendants’ unlawful conduct, members

                     of the Damages Class have been injured in their business and property and

                     are threatened with further injury.

             d.      By reason of the foregoing, Defendants have entered into agreements in

                     restraint of trade in violation of Mississippi Code Ann. §§ 75-21-3, et seq.

                     Accordingly, members of the Damages Class seek all relief available under

                     Mississippi Code Ann. §§ 75-21-3, et seq.

       205. Nebraska: Defendants have entered into an unlawful agreement in restraint of trade

in violation of Neb. Code Ann. §§ 59-801, et seq. with respect to purchases of CCAs in Nebraska

by Class members and/or purchases by Nebraska residents.

             a.      Defendants’ combination or conspiracy had the following effects: (1) CCA

                     price competition was restrained, suppressed, and eliminated throughout

                     Nebraska; (2) CCA prices were raised, fixed, maintained, and stabilized at

                     artificially high levels throughout Nebraska; (3) members of the Damages

                     Class were deprived of free and open competition; and (4) members of the

                     Damages Class paid supracompetitive, artificially inflated prices for CCAs.

             b.      During the Class Period, Defendants’ illegal conduct substantially affected

                     Nebraska commerce.

             c.      As a direct and proximate result of Defendants’ unlawful conduct, members

                     of the Damages Class have been injured in their business and property and

                     are threatened with further injury.

             d.      By reason of the foregoing, Defendants have entered into agreements in

                     restraint of trade in violation of Nebraska Revised Statutes §§ 59-801, et



                                              68
       Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 70 of 91




                    seq. Accordingly, members of the Damages Class seek all relief available

                    under Nebraska Revised Statutes §§ 59-801, et seq.

       206. Nevada: Defendants have entered into an unlawful agreement in restraint of trade

in violation of Nev. Rev. Stat. Ann. §§ 598A.060, et seq. with respect to purchases of CCAs in

Nevada by Class members and/or purchases by Nevada residents.

             a.     Defendants’ combination or conspiracy had the following effects: (1) CCA

                    price competition was restrained, suppressed, and eliminated through

                    Nevada; (2) CCA prices were raised, fixed, maintained and stabilized at

                    artificially high levels throughout Nevada; (3) members of the Damages

                    Class were deprived of free and open competition; and (4) members of the

                    Damages Class paid supracompetitive, artificially inflated prices for CCAs.

             b.     During the Class Period, Defendants’ illegal conduct substantially affected

                    Nevada commerce.

             c.     As a direct and proximate result of Defendants’ unlawful conduct, members

                    of the Damages Class have been injured in their business and property and

                    are threatened with further injury.

             d.     By reason of the foregoing, Defendants members of the Damages Class

                    were deprived of free and open competition; and (4) members of the

                    Damages Class paid supracompetitive, artificially inflated prices for CCAs.

             e.     During the Class Period, Defendants’ illegal conduct substantially affected

                    Nevada commerce.




                                             69
        Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 71 of 91




              f.     As a direct and proximate result of Defendants’ unlawful conduct, members

                     of the Damages Class have been injured in their business and property and

                     are threatened with further injury.

              g.     By reason of the foregoing, Defendants have entered into agreements in

                     restraint of trade in violation of Nevada Rev. Stat. Ann. §§ 598A.060, et

                     seq. Accordingly, members of the Damages Class seek all relief available

                     under Nevada Rev. Stat. Ann. §§ 598A.060, et seq.

       207. New Hampshire: Defendants have entered into an unlawful agreement in restraint

of trade in violation of N.H. Rev. Stat. Ann. §§ 356.2, et seq., with respect to purchases of CCAs

in New Hampshire by Class members and/or purchases by New Hampshire residents.

              a.     Defendants’ combination or conspiracy had the following effects: (1) CCA

                     price competition was restrained, suppressed, and eliminated throughout

                     New Hampshire; (2) CCA prices were raised, fixed, maintained, and

                     stabilized at artificially throughout New Hampshire, (3) members of the

                     Damages Class were deprived of free and open competition; and (4)

                     members of the Damages Class paid supracompetitive, artificially inflated

                     prices for CCAs.

              b.     During the Class Period, Defendants’ illegal conduct substantially affected

                     New Hampshire commerce.

              c.     As a direct and proximate result of Defendants’ unlawful conduct, members

                     of the Damages Class have been injured in their business and property and

                     are threatened with further injury.




                                               70
       Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 72 of 91




             d.      By reason of the foregoing, Defendants have entered into agreements in

                     restraint of trade in violation of New Hampshire Revised Statutes §§ 356.2,

                     et seq. Accordingly, members of the Damages Class seek all relief available

                     under New Hampshire Revised Statutes §§ 356:2, et seq.

       208. New Mexico: Defendants have entered into an unlawful agreement in restraint of

trade in violation of N.M. Stat. Ann. §§ 57-1-1, et seq. with respect to purchases of CCAs in

New Mexico by Class members and/or purchases by New Mexico residents.

             a.      Defendants’ combination or conspiracy had the following effects: (1) CCA

                     price competition was restrained, suppressed, and eliminated throughout

                     New Mexico; (2) CCA prices were raised, fixed, maintained, and stabilized

                     at artificially inflated prices for CCAs.

             b.      During the Class Period, Defendants’ illegal conduct substantially affected

                     New Mexico commerce.

             c.      As a direct and proximate result of Defendants’ unlawful conduct, members

                     of the Damages Class have been injured in their business and property and

                     are threatened with further injury.

             d.      By reason of the foregoing, Defendants have entered into agreements in

                     restraint of trade in violation of New Mexico Stat. Ann. S§ 57-1-1, et seq.

                     Accordingly, members of the Damages Class seek all relief available under

                     New Mexico Stat. Ann. §§ 57-1-1, et seq.

       209. New York: Defendants have entered into an unlawful agreement in restraint of

trade in violation of N.Y. Gen. Bus. L. §§ 340, et seq. with respect to purchases of CCAs in New

York by Class members and/or purchases by New York residents.



                                               71
       Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 73 of 91




             a.     Defendants’ combination or conspiracy had the following effects: (1) CCA

                    price competition was restrained, suppressed, and eliminated throughout

                    New York; (2) CCA prices were raised, fixed, maintained, and stabilized at

                    artificially high levels throughout New York; (3) members of the Damages

                    Class were deprived of free and open competition; and (4) members of the

                    Damages Class paid supracompetitive, artificially inflated prices for CCAs,

                    or purchased products that were otherwise of lower quality than they would

                    have been absent the conspirators illegal acts, or were unable to purchase

                    products that they otherwise would have purchased absent the illegal

                    conduct.

             b.     During the Class Period, Defendants’ illegal conduct substantially affected

                    New York commerce.

             c.     As a direct and proximate result of Defendants’ unlawful conduct, members

                    of the Damages Class have been injured in their business and property and

                    are threatened with further injury.

             d.     By reason of the foregoing, Defendants have entered into agreements in

                    restraint of trade in violation of the New York Donnelly Act §§ 340, et seq.

                    The conduct set forth above is a per se violation of the Act. Accordingly,

                    members of the Damages Class seek all relief available under New York

                    Gen. Bus. Law §§ 340, et seq.

       210. North Carolina: Defendants have entered into an unlawful agreement in restraint

of trade in violation of N.C. Gen. Stat. §§ 75-1, et seq. with respect to purchases of CCAs in

North Carolina by Class members and/or purchases by North Carolina residents.



                                             72
       Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 74 of 91




             a.     Defendants’ combination or conspiracy had the following effects: (1) CCA

                    price competition was restrained, suppressed, and eliminated throughout

                    North Carolina; (2) CCA prices were raised, fixed, maintained, and

                    stabilized at artificially high levels throughout North Carolina; (3) members

                    of the Damages Class were deprived of free and open competition; and (4)

                    members of the Damages Class paid supracompetitive, artificially inflated

                    prices for CCAs.

             b.     During the Class Period, Defendants’ illegal conduct substantially affected

                    North Carolina commerce.

             c.     As a direct and proximate result of the Defendants’ unlawful conduct,

                    members of the Damages Class have been injured in their business and

                    property and are threatened with further injury.

             d.     By reason of the foregoing, Defendants have entered into agreements in

                    restraint of trade in violation of North Carolina Gen. Stat. §§ 75-1, et seq.

                    Accordingly, members of the Damages Class seek all relief available under

                    North Carolina Gen. Stat. §§ 75-1, et seq.

       211. North Dakota: Defendants have entered into an unlawful agreement in restraint of

trade in violation of N.D. Cent. Code §§ 51-08.1-01, et seq. with respect to purchases of CCAs

in North Dakota by Class members and/or purchases by North Dakota residents.

             a.     Defendants’ combination or conspiracy had the following effects: (1) CCA

                    price competition was restrained, suppressed, and eliminated throughout

                    North Dakota; (2) CCA prices were raised, fixed, maintained, and stabilized

                    at artificially high levels throughout North Dakota; (3) members of the



                                             73
       Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 75 of 91




                     Damages Class were deprived of free and open competition; and (4)

                     members of the Damages Class paid supracompetitive, artificially inflated

                     prices for CCAs.

             b.      During the Class Period, Defendants’ illegal conduct had a substantial effect

                     on North Dakota commerce.

             c.      As a direct and proximate result of Defendants’ unlawful conduct, members

                     of the Damages Class have been injured in their business and property and

                     are threatened with further injury.

             d.      By reason of the foregoing, Defendants have entered into agreements in

                     restraint of trade in violation of North Dakota Cent. Code §§ 51-08/1-01, et

                     seq. Accordingly, members of the Damages Class seek all relief available

                     under North Dakota Cent. Code §§ 51-08.1-01, et seq.

       212. Oregon: Defendants have entered into an unlawful agreement in restraint of trade

in violation of Or. Rev. Stat. §§ 646.705, et seq., with respect to purchases of CCAs in Oregon

by Class members and/or purchases by Oregon residents.

             a.      Defendants’ combination and conspiracy had the following effects: (1)

                     CCA price competition was restrained, suppressed, and eliminated

                     throughout Oregon; (2) CCA prices were raised, fixed, maintained, and

                     stabilized at artificially high levels throughout Oregon; (3) members of the

                     Damages Class were deprived of free and open competition; and (4)

                     members of the Damages Class paid supracompetitive, artificially inflated

                     prices for CCAs.




                                              74
       Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 76 of 91




             b.     During the Class Period, Defendants’ illegal conduct had a substantial effect

                    on Oregon commerce.

             c.     As a direct and proximate result of Defendants’ unlawful conduct, members

                    of the Damages Class have been injured in their business and property and

                    are threatened with further injury.

             d.     By reason of the foregoing, Defendants have entered into agreements in

                    restraint of trade in violation of Oregon Revised Statutes §§ 646.705, et seq.

                    Accordingly, members of the Damages Class seek all relief available under

                    Oregon Revised Statutes §§ 646.705, et seq.

       213. Rhode Island: Defendants have entered into an unlawful agreement in restraint of

trade in violation of R.I. Gen. Laws §§ 6-36-4, et seq. with respect to purchases of CCAs in

Rhode Island by Class members and/or purchases by Rhode Island residents.

             a.     Defendants’ combination or conspiracy had the following effects: (1) CCA

                    price competition was restrained, suppressed, and eliminated throughout

                    Rhode Island; (2) CCA prices were raised, fixed, maintained, and stabilized

                    at artificially high levels throughout Rhode Island; (3) members of the

                    Damages Class were deprived of free and open competition; and (4)

                    members of the Damages Class paid supracompetitive, artificially inflated

                    prices for CCAs.

             b.     During the Class Period, Defendants’ illegal conduct substantially affected

                    Rhode Island commerce.




                                              75
       Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 77 of 91




             c.      As a direct and proximate result of Defendants’ unlawful conduct, members

                     of the Damages Class have been injured in their business and property and

                     are threatened with further injury.

             d.      By reason of the foregoing, Defendants have entered into agreements in

                     restraint of trade in violation of R.I. Gen. Laws §§ 6-36-4, et seq.

                     Accordingly, members of the Damages Class seek all forms of relief

                     available under R.I. Gen. Laws §§ 6-13.1-1, et seq.

       214. South Dakota: Defendants have entered into an unlawful agreement in restraint of

trade in violation of S.D. Codified Laws An.. §§ 37-1, et seq. with respect to purchases of CCAs

in South Dakota by Class members and/or purchases by South Dakota residents.

             a.      Defendants’ combination or conspiracy had the following effects: (1) CCA

                     price competition was restrained, suppressed, and eliminated throughout

                     South Dakota; (2) CCA prices were raised, fixed, maintained and stabilized

                     at artificially high levels throughout South Dakota; (3) members of the

                     Damages Class were deprived of free and open competition; and (4)

                     members of the Damages Class paid supracompetitive, artificially inflated

                     prices for CCAs.

             b.      During the Class Period, Defendants’ illegal conduct had a substantial effect

                     on South Dakota commerce.

             c.      As a direct and proximate result of Defendants’ unlawful conduct, members

                     of the Damages Class have been injured in their business and property and

                     are threatened with further injury.




                                              76
       Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 78 of 91




             d.     By reason of the foregoing, Defendants have entered into agreements in

                    restraint of trade in violation of South Dakota Codified Laws An. §§ 37-1,

                    et seq. Accordingly, members of the Damages Class seek all relief available

                    under South Dakota Codified Laws Ann. §§ 37-1, et seq.

       215. Tennessee: Defendants have entered into an unlawful agreement in restraint of

trade in violation of Tenn. Code Ann. §§ 47-25-101, et seq. with respect to purchases of CCAs

in South Dakota by Class members and/or purchases by South Dakota residents.

             a.     Defendants’ combination or conspiracy had the following effects: (1) CCAs

                    price competition was restrained, suppressed, and eliminated throughout

                    Tennessee; (2) CCAs prices were raised, fixed, maintained, and stabilized

                    at artificially high levels throughout Tennessee; (3) members of the

                    Damages Class were deprived of free and open competition; and (4)

                    members of the Damages Class paid supracompetitive, artificially inflated

                    prices for CCAs.

             b.     During the Class Period, Defendants’ illegal conduct had a substantial effect

                    on Tennessee commerce.

             c.     As a direct and proximate cause of the Defendants’ unlawful conduct,

                    members of the Damages Class have been injured in their business and

                    property and are threatened with further injury. By reason of the foregoing,

                    Defendants have entered into agreements in restraint of trade in violation of

                    Tennessee Code Ann. §§ 47-25-101, et seq. Accordingly, members of the

                    Damages Class seek all relief available under Tennessee Code Ann. §§ 47-

                    25-101, et seq.



                                             77
       Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 79 of 91




             d.     By reason of the foregoing, Defendants have entered into agreements in

                    restraint of trade in violation of Tennessee Code Ann. §§ 47-25-101, et seq.

                    Accordingly, members of the Damages Class seek all relief available under

                    Tennessee Code Ann. §§ 47-25-101, et seq.

       216. Utah: Defendants have entered into an unlawful agreement in restraint of trade in

violation of Utah Code Ann. §§ 76-10-3101, et seq. with respect to purchases of CCAs in Utah

by Class members and/or purchases by Utah residents.

             a.     Defendants’ combination or conspiracy had the following effects: (1) CCAs

                    price competition was restrained, suppressed, and eliminated throughout

                    Tennessee; (2) CCAs prices were raised, fixed, maintained, and stabilized

                    at artificially high levels throughout Tennessee; (3) members of the

                    Damages Class were deprived of free and open competition; and (4)

                    members of the Damages Class paid supracompetitive, artificially inflated

                    prices for CCAs.

             b.     During the Class Period, Defendants’ illegal conduct had a substantial effect

                    on Utah commerce.

             c.     As a direct and proximate cause of the Defendants’ unlawful conduct,

                    members of the Damages Class have been injured in their business and

                    property and are threatened with further injury.

             d.     By reason of the foregoing, Defendants have entered into agreements in

                    restraint of trade in violation of Utah Code Annotated §§ 76-10-3101, et

                    seq. Accordingly, members of the Damages Class seek all relief available

                    under Utah Code Ann. §§ 76-10-3101, et seq.



                                             78
       Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 80 of 91




       217. Vermont: Defendants have entered into an unlawful agreement in restraint of trade

in violation of Vt. Stat. Ann. 9 §§ 2453, et seq. with respect to purchases of CCAs by Class

members and/or purchases by Vermont residents.

             a.      Defendants’ combination or conspiracy had the following effects: (1) CCAs

                     price competition was restrained, suppressed, and eliminated throughout

                     Tennessee; (2) CCAs prices were raised, fixed, maintained, and stabilized

                     at artificially high levels throughout Tennessee; (3) members of the

                     Damages Class were deprived of free and open competition; and (4)

                     members of the Damages Class paid supracompetitive, artificially inflated

                     prices for CCAs.

             b.      During the Class Period, Defendants’ illegal conduct had a substantial effect

                     on Vermont commerce.

             c.      As a direct and proximate cause of the Defendants’ unlawful conduct,

                     members of the Damages Class have been injured in their business and

                     property and are threatened with further injury.

             d.      By reason of the foregoing, Defendants have entered into agreements in

                     restraint of trade in violation of Vermont Stat. Ann. 9 §§ 2453, et seq.

                     Accordingly, members of the Damages Class seek all relief available under

                     Vermont Stat. Ann. §§ 2453, et seq.

       218. West Virginia: Defendants have entered into an unlawful agreement in restraint of

trade in violation of W. Va. Code §§ 47-18-4, et seq. with respect to purchases of CCAs in West

Virginia by Class members and/or purchases by West Virginia residents.




                                              79
        Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 81 of 91




              a.     Defendants’ combination or conspiracy had the following effects: (1) CCAs

                     price competition was restrained, suppressed, and eliminated throughout

                     Tennessee; (2) CCAs prices were raised, fixed, maintained, and stabilized

                     at artificially high levels throughout Tennessee; (3) members of the

                     Damages Class were deprived of free and open competition; and (4)

                     members of the Damages Class paid supracompetitive, artificially inflated

                     prices for CCAs.

              b.     During the Class Period, Defendants’ illegal conduct had a substantial effect

                     on West Virginia commerce.

              c.     As a direct and proximate cause of the Defendants’ unlawful conduct,

                     members of the Damages Class have been injured in their business and

                     property and are threatened with further injury.

              d.     By reason of the foregoing, Defendants have entered into agreements in

                     restraint of trade in violation of West Virginia Code §§ 47-18-1, et seq.

                     Accordingly, members of the Damages Class seek all relief available under

                     West Virginia Code §§ 47-18-1, et seq.

       219. Wisconsin: Defendants have entered into an unlawful agreement in restraint of

trade in violation of Wis. Stat. §§ 133.01, et seq. with respect to purchases of CCAs in Wisconsin

by Class members and/or purchases by Wisconsin residents.

              a.     Defendants’ combination or conspiracy had the following effects: (1) CCAs

                     price competition was restrained, suppressed, and eliminated throughout

                     Tennessee; (2) CCAs prices were raised, fixed, maintained, and stabilized

                     at artificially high levels throughout Tennessee; (3) members of the



                                               80
        Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 82 of 91




                     Damages Class were deprived of free and open competition; and (4)

                     members of the Damages Class paid supracompetitive, artificially inflated

                     prices for CCAs.

              b.     During the Class Period, Defendants’ illegal conduct had a substantial effect

                     on Wisconsin commerce.

              c.     As a direct and proximate cause of the Defendants’ unlawful conduct,

                     members of the Damages Class have been injured in their business and

                     property and are threatened with further injury.

              d.     By reason of the foregoing, Defendants have entered into agreements in

                     restraint of trade in violation of Wisconsin Stat. §§ 133.01, et seq.

                     Accordingly, members of the Damages Class seek all relief available under

                     Wisconsin Stat. §§ 133.01, et seq.

                                         COUNT III

                       Violations of State Consumer Protection Law

       220. Plaintiffs incorporate by reference the allegations in the preceding paragraphs.

       221. During the Class Period, Defendants engaged in unfair or deceptive acts or practices

in violation of the state deceptive trade practices and consumer protection laws pleaded below.

       222. Arkansas: Defendants have engaged in unfair or deceptive acts or practices in

violation of Ark. Code Ann. § 4-88-107(a)(10) with respect to purchases of CCAs in Arkansas

by Class members and/or purchases by Arkansas residents.

              a.     Defendants worked together to fix, raise, maintain, and stabilize the price

                     of CCAs and exercised their collective control to suppress innovation and

                     consumer choice.



                                              81
       Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 83 of 91




             b.      During the Class Period, Defendants’ illegal conduct had a substantial effect

                     on Arkansas commerce.

             c.      As a direct and proximate cause of the Defendants’ unlawful conduct,

                     members of the Damages Class have been injured in their business and

                     property and are threatened with further injury.

             d.      By reason of the foregoing, Defendants have engaged om unfair or

                     deceptive acts of practices in violation of Ark. Code Ann. § 4-88-

                     107(a)(10). Accordingly, members of the Damages Class seek all relief

                     available under Ark. Code Ann. § 4-88-107(a)(10).

       223. California: Defendants have engaged in unfair or deceptive acts or practices in

violation of Cal. Bus. & Prof. Code § 17200, et seq. with respect to purchases of CCAs in

California by Class members and/or purchases by California residents.

             a.      Defendants worked together to fix, raise, maintain, and stabilize the price

                     of CCAs and exercised their collective control to suppress innovation and

                     consumer choice.

             b.      During the Class Period, Defendants’ illegal conduct had a substantial effect

                     on California commerce.

             c.      As a direct and proximate cause of the Defendants’ unlawful conduct,

                     members of the Damages Class have been injured in their business and

                     property and are threatened with further injury.

             d.      By reason of the foregoing, Defendants have engaged om unfair or

                     deceptive acts of practices in violation of Cal. Bus. & Prof. Code § 17200,




                                               82
        Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 84 of 91




                     et seq. Accordingly, members of the Damages Class seek all relief available

                     under Cal. Bus. & Prof. Code § 17200, et seq.

       224. Illinois: Defendants have engaged in unfair or deceptive acts or practices in

violation of 815 Ill. Comp. Stat. Ann. 505/10a, et seq. with respect to purchases of CCAs in

Illinois by Class members and/or purchases by Illinois residents.

              a.     Defendants worked together to fix, raise, maintain, and stabilize the price

                     of CCAs and exercised their collective control to suppress innovation and

                     consumer choice.

              b.     During the Class Period, Defendants’ illegal conduct had a substantial effect

                     on Illinois commerce.

              c.     As a direct and proximate cause of the Defendants’ unlawful conduct,

                     members of the Damages Class have been injured in their business and

                     property and are threatened with further injury.

              d.     By reason of the foregoing, Defendants have engaged om unfair or

                     deceptive acts of practices in violation of 815 Ill. Comp. Stat. Ann. 505/10a,

                     et seq. Accordingly, members of the Damages Class seek all relief available

                     under 815 Ill. Comp. Stat. Ann. 505/10a, et seq.

       225. Minnesota: Defendants have engaged in unfair or deceptive acts or practices in

violation of Minn. Stat. § 325F.68, et seq. with respect to purchases of CCAs in Minnesota by

Class members and/or purchases by Minnesota residents.

              a.     Defendants worked together to fix, raise, maintain, and stabilize the price

                     of CCAs and exercised their collective control to suppress innovation and

                     consumer choice.



                                              83
       Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 85 of 91




             b.      During the Class Period, Defendants’ illegal conduct had a substantial effect

                     on Minnesota commerce.

             c.      As a direct and proximate cause of the Defendants’ unlawful conduct,

                     members of the Damages Class have been injured in their business and

                     property and are threatened with further injury.

             d.      By reason of the foregoing, Defendants have engaged om unfair or

                     deceptive acts of practices in violation of Minn. Stat. § 325F.68, et seq.

                     Accordingly, members of the Damages Class seek all relief available under

                     Minn. Stat. § 325F.68, et seq.

       226. New Mexico: Defendants have engaged in unfair or deceptive acts or practices in

violation of N.M. Stat. Ann. § 57-12-3, et seq. with respect to purchases of CCAs in New Mexico

by Class members and/or purchases by New Mexico residents.

             a.      Defendants worked together to fix, raise, maintain, and stabilize the price

                     of CCAs and exercised their collective control to suppress innovation and

                     consumer choice.

             b.      During the Class Period, Defendants’ illegal conduct had a substantial effect

                     on New Mexico commerce.

             c.      As a direct and proximate cause of the Defendants’ unlawful conduct,

                     members of the Damages Class have been injured in their business and

                     property and are threatened with further injury.

             d.      By reason of the foregoing, Defendants have engaged om unfair or

                     deceptive acts of practices in violation of N.M. Stat. Ann. § 57-12-3, et seq.




                                               84
       Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 86 of 91




                    Accordingly, members of the Damages Class seek all relief available under

                    N.M. Stat. Ann. § 57-12-3, et seq.

       227. North Carolina: Defendants have engaged in unfair or deceptive acts or practices

in violation of N.C. Gen. Stat. § 75-1.1, et seq. with respect to purchases of CCAs in North

Carolina by Class members and/or purchases by North Carolina residents.

             a.     Defendants worked together to fix, raise, maintain, and stabilize the price

                    of CCAs and exercised their collective control to suppress innovation and

                    consumer choice.

             b.     During the Class Period, Defendants’ illegal conduct had a substantial effect

                    on North Carolina commerce.

             c.     As a direct and proximate cause of the Defendants’ unlawful conduct,

                    members of the Damages Class have been injured in their business and

                    property and are threatened with further injury.

             d.     By reason of the foregoing, Defendants have engaged om unfair or

                    deceptive acts of practices in violation of N.C. Gen. Stat. § 75-1.1, et seq.

                    Accordingly, members of the Damages Class seek all relief available under

                    N.C. Gen. Stat. § 75-1.1, et seq.

       228. South Carolina: Defendants have engaged in unfair or deceptive acts or practices

in violation of S.C. Code Ann. § 39-5-10, et seq. with respect to purchases of CCAs in South

Carolina by Class members and/or purchases by South Carolina residents.

             a.     Defendants worked together to fix, raise, maintain, and stabilize the price

                    of CCAs and exercised their collective control to suppress innovation and

                    consumer choice.



                                             85
       Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 87 of 91




             b.      During the Class Period, Defendants’ illegal conduct had a substantial effect

                     on South Carolina commerce.

             c.      As a direct and proximate cause of the Defendants’ unlawful conduct,

                     members of the Damages Class have been injured in their business and

                     property and are threatened with further injury.

             d.      By reason of the foregoing, Defendants have engaged om unfair or

                     deceptive acts of practices in violation of S.C. Code Ann. § 39-5-10, et seq.

                     Accordingly, members of the Damages Class seek all relief available under

                     S.C. Code Ann. § 39-5-10, et seq.

       229. Vermont: Defendants have engaged in unfair or deceptive acts or practices in

violation of Vt. Stat. Ann. Tit. 9, § 2453, et seq. with respect to purchases of CCAs in Vermont

by Class members and/or purchases by Vermont residents.

             a.      Defendants worked together to fix, raise, maintain, and stabilize the price

                     of CCAs and exercised their collective control to suppress innovation and

                     consumer choice.

             b.      During the Class Period, Defendants’ illegal conduct had a substantial effect

                     on Vermont commerce.

             c.      As a direct and proximate cause of the Defendants’ unlawful conduct,

                     members of the Damages Class have been injured in their business and

                     property and are threatened with further injury.

             d.      By reason of the foregoing, Defendants have engaged in unfair or deceptive

                     acts of practices in violation of Vt. Stat. Ann. Tit. 9, § 2453, et seq.




                                              86
         Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 88 of 91




                        Accordingly, members of the Damages Class seek all relief available Vt.

                        Stat. Ann. Tit. 9, § 2453, et seq.

         230. Wisconsin: Defendants have engaged in unfair or deceptive acts or practices in

 violation of Wisc. Stat. § 100.18, et seq. with respect to purchases of CCAs in Wisconsin by

 Class members and/or purchases by Wisconsin residents.

                a.      Defendants worked together to fix, raise, maintain, and stabilize the price

                        of CCAs and exercised their collective control to suppress innovation and

                        consumer choice.

                b.      During the Class Period, Defendants’ illegal conduct had a substantial effect

                        on Wisconsin commerce.

                c.      As a direct and proximate cause of the Defendants’ unlawful conduct,

                        members of the Damages Class have been injured in their business and

                        property and are threatened with further injury.

                d.      By reason of the foregoing, Defendants have engaged om unfair or

                        deceptive acts of practices in violation of Wisc. Stat. § 100.18, et seq.

                        Accordingly, members of the Damages Class seek all relief available Wisc.

                        Stat. § 100.18, et seq.

                                             COUNT IV

                                       Unjust Enrichment181

         231. Plaintiffs incorporate by reference the allegations in the preceding paragraphs.



  Unjust enrichment claims are alleged herein under the laws of the following states: Arizona, Arkansas,
181

California, Connecticut, District of Columbia, Hawaii, Illinois, Iowa, Kansas, Maine, Michigan,
Minnesota, Mississippi, Missouri, Nebraska, Nevada, New Hampshire, New Mexico, New York, North
Carolina, North Dakota, Oregon, Rhode Island, South Carolina, South Dakota, Tennessee, Utah,
Vermont, West Virginia, and Wisconsin.

                                                   87
        Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 89 of 91




        232. To the extent required, this claim is pleaded in the alternative to the other claims in

this Complaint.

        233. As a result of their unlawful conduct described above, Defendants have and will

continue to be unjustly enriched. Defendants have been unjustly enriched by the receipt of, at a

minimum, unlawfully inflated prices and unlawful profits on sales of CCAs.

        234. Defendants have benefitted from their unlawful acts and it would inequitable for

Defendants to be permitted to retain any of the ill-gotten gains resulting from the overpayments

made by Plaintiffs or the Class Members for CCAs.

        235. Plaintiffs and the Class are entitled to the amount of Defendants’ ill-gotten gains

resulting from their unlawful, unjust, and inequitable conduct. Plaintiffs and the Class Members

are entitled to the establishment of a constructive trust consisting of all ill-gotten gains from which

Plaintiffs and the members of the Class may make claims on a pro rata basis.

        236. Pursuit of any remedies against the firms from whom Plaintiffs and the Class

purchased CCAs subject to Defendants’ conspiracy would have been futile, given that those firms

did not take part in Defendants’ conspiracy.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff and the Classes respectfully request the following relief:

       A.     That the Court determine that this action may be maintained as a class action under

Rule 23(a), (b)(2), and (b)(3) of the Federal Rules of Civil Procedure, appoint Plaintiff as

representative of the Class and the undersigned law firms as Class Counsel, and direct that

reasonable notice of this action, as provided by Rule 23(c)(2) of the Federal Rules of Civil

Procedure, be given to each and every member of the Class;




                                                 88
         Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 90 of 91




       B.        The Court adjudge and decree that the acts of the Defendants are illegal and

unlawful, including the agreement, contract, combination, or conspiracy, and acts done in

furtherance thereof by Defendants and their co-conspirators be adjudged to have been a per se

violation of Sections 1 and 3 of the Sherman Act (15 U.S.C. §§ 1, 3);

       C.        The Court permanently enjoin and restrain Defendants, their affiliates, successors,

transferees, assignees, and other offices, directors, agents, and employees thereof, and all other

persons acting or claiming to act on their behalf, from in any manner continuing, maintaining, or

renewing the conduct, contract, conspiracy, or combination allege herein, or from entering into

any other contract, conspiracy, or combination having a similar purpose or effect, and from

adopting or following any practice, plan, program, or device having a similar purpose or effect;

       D.        That Judgment be entered against Defendants, jointly and severally, and in favor of

Plaintiff and members of the Class for treble the amount of damages sustained by Plaintiff and the

Class as allowed by law, together with costs of the action, including reasonable attorneys’ fees,

pre- and post-judgment interest at the highest legal rate from and after the date of service of this

Complaint to the extent provided by law;

       E.        That each of the Defendants, and their respective successors, assigns, parent,

subsidiaries, affiliates, and transferees, and their officers, directors, agents, and representatives,

and all other persons acting or claiming to act on behalf of Defendants or in concert with them, be

permanently enjoined and restrained from, in any manner, directly or indirectly, continuing,

maintaining or renewing the combinations, conspiracy, agreement, understanding, or concert of

action as alleged herein; and F. That the Court award Plaintiff and members of the Class such other

and further relief as the case may require and the Court may deem just and proper under the

circumstances.



                                                 89
         Case 2:23-cv-04797-KNS Document 1 Filed 12/05/23 Page 91 of 91




                                DEMAND FOR TRIAL BY JURY

        Plaintiff demands a trial by jury, pursuant to Rule 38(b) of the Federal Rules of Civil

Procedure, of all issues so triable.

Dated: December 5, 2023                        Respectfully submitted,


                                           By: /s/ Lee Albert
                                               Lee Albert (PA Bar No. 046852)
                                               GLANCY PRONGAY & MURRAY LLP
                                               230 Park Ave., Suite 358
                                               New York, NY 10169
                                               Telephone: (212) 682-5340
                                               lalbert@glancylaw.com

                                               Blaine Finley*
                                               Lissa Morgans*
                                               Cody McCracken*
                                               CUNEO GILBERT & LADUCA, LLP
                                               4725 Wisconsin Ave., NW
                                               Suite 200
                                               Washington, DC 20016
                                               Telephone: (202) 789-3960
                                               bfinley@cuneolaw.com
                                               lmorgans@cuneolaw.com
                                               cmccracken@cuneolaw.com

                                               Jon A. Tostrud*
                                               Anthony Carter*
                                               TOSTRUD LAW GROUP, P.C.
                                               1925 Century Park East
                                               Suite 2100
                                               Los Angeles, CA 90067
                                               Telephone: (310) 278-2600
                                               jtostrud@tostrudlaw.com
                                               acarter@tostrudlaw.com

*pro hac vice forthcoming




                                              90
